                              EXHIBIT A




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                                       LOAN AND SECURITY AGREEMENT

         This LOAN AND SECURITY AGREEMENT is entered into as of January 12, 2022 by and between
 GPMI, Co., an Arizona corporation (“Borrower”), and FACTORS SOUTHWEST, L.L.C., dba FSW FUNDING, an
 Arizona limited liability company whose chief executive office and principal place of business is located at 4530 E.
 Shea Blvd., Suite 170, Phoenix, AZ 85028 (“Lender”).

                                                       RECITALS

      A. Borrower has requested that Lender lend funds and provide financial accommodations to Borrower
 (collectively, the “Loan”) as more fully set forth herein and in the other Loan Documents.

      B. The financial accommodations made herein are in anticipation of Borrower filing a voluntary bankruptcy
 petition seeking protection under Chapter 11 of the Bankruptcy Code and are intended to finance Borrow as a debtor-
 in-possession during the pendency of the Bankruptcy Case.

     NOW, THEREFORE, in consideration of the premises, and intending to be legally bound hereby, the Parties
 hereby agree as follows:

                                                     AGREEMENT

    1.   Certain Definitions and Index to Definitions.

          1.1       Accounting Terms. Unless otherwise specified herein, all accounting terms used herein shall be
 interpreted, all accounting determinations hereunder shall be made, and all financial statements required to be
 delivered hereunder shall be prepared in accordance with GAAP consistently applied.

          1.2       Definitions. All other capitalized terms contained in this Agreement which are not specifically
 defined herein shall have the meanings provided those terms in the UCC to the extent the same are used herein. All
 references herein to the singular or plural shall also mean the plural or the singular, respectively, and references to any
 gender shall mean any other gender, including the neuter. The term “including” shall mean “including without
 limitation,” regardless of whether so stated. As used herein, the following terms shall have the designated meanings:

                     1.2.1.       “Account Debtor” – a Person to whom Borrower has sold Inventory or other
  Collateral, or to whom Borrower or its Affiliates have provided services for which that Person has not fully paid
  Borrower or that Affiliate all amounts due for those goods or services.

                     1.2.2.        “Accounts” – all accounts receivable or other obligations owed to Borrower by an
  Account Debtor.

                    1.2.3.         “Accounts Receivable Factoring Facility” – means the transaction contemplated
  by the Factoring Agreement.

                     1.2.4.        “ACH” – means automated clearing house or similar payment process.

                     1.2.5.        “ACH Agreement” – see Section 3.1.3 hereof.

                     1.2.6.        “Advances” - see Section 2.1 hereof.

                    1.2.7.         “Affiliate” means any entity which directly or indirectly, through one or more
  intermediaries, controls, or is controlled by or is under common control with Borrower, or 5% or more of the equity
  interest of which is held beneficially or of record by Borrower or any Account Debtor or any Affiliate of either of
  them. “Control” means the power, directly or indirectly, to direct management and policies of an entity, whether
  through the ownership of voting securities, by contract or otherwise.


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                     1.2.8.      “Agreement” - this Loan and Security Agreement, together with all exhibits and
  schedules hereto, as the same now exists or may hereafter be amended, modified, supplemented, extended, renewed,
  restated, or replaced.

                     1.2.9.       “Allowable Amount” - the lesser of (i) the Borrowing Base less Availability
  Reserves, if any, and (ii) the Maximum Amount.

                   1.2.10.     “Anniversary Date” – the later of the date that is one year following the date of this
  Agreement, or the Renewal Termination Date, if applicable.

                    1.2.11.      “Applicable Laws” means all applicable federal, state, local and foreign laws, rules,
  regulations and orders of any Governmental Authority.

                     1.2.12.        “Asset Report” – a report prepared by Borrower setting forth a complete and current
  detailed listing of all of Borrower’s inventory, the listing to include, without limitation, the part numbers, cost and
  location of all inventories, and the quantity of inventory in the possession of each sales representative and submitted
  to Lender in accordance with Section 2.4.1 hereof

                  1.2.13.       “Available Cash” – means cash on deposit, if any, that may be held in any of
  Borrower’s deposit accounts that are not otherwise Borrower’s immediately accessible funds

                    1.2.14.       “Availability Reserves” - as of any date of determination, an amount as Lender may
  from time to time establish and revise in good faith reducing the amount of the Advances which would otherwise be
  available to Borrower hereunder:

                        1.2.14.1.       To reflect events, conditions, contingencies or risks which, as determined by
 Lender in good faith, do or may affect either (i) the Collateral or any other property which is security for the
 Obligations or its value, (ii) the assets, business or prospects of Borrower or any Obligor, or (iii) the security interest
 and other rights of Lender in the Collateral (including the enforceability, perfection and priority thereof);

                       1.2.14.2.    To reflect Lender's good faith belief that any Collateral report or financial
 information furnished by or on behalf of Borrower or any Obligor to Lender is or may have been incomplete,
 inaccurate or misleading in any material respect; or

                       1.2.14.3.     In respect of any state of facts that Lender determined in good faith constitutes an
 Event of Default or Incipient Default.

                        1.2.14.4.      Lender may retain the Availability Reserves until Complete Termination.

                   1.2.15.      “Avoidance Claim” - any claim that any payment received by Lender is avoidable
  under the Bankruptcy Code or any other debtor relief statute.

                   1.2.16.        “Bankruptcy Case” – means the Chapter 11 case filed in the United States
  Bankruptcy Court for the District of Arizona by Borrower as Case No. 2:22-bk-00150-EPB, in which Borrower has
  remained in possession of its assets and continues to operate its business pursuant to Sections 1107 and 1108 of the
  Bankruptcy Code.

                     1.2.17.        “Bankruptcy Court” – means the court presiding over Borrower’s Bankruptcy Case

                   1.2.18.      “Bona-fide” - means that each party to a transaction has acted in Good Faith and in
  an arms’ length manner with respect to the transaction.

                     1.2.19.        “Borrower” - see Preamble hereof.


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                     1.2.20.     “Borrowing Base” – The lesser of a) up to twenty percent (20%) of eligible raw
  material limited to non-woven and unopened plastic canisters and lids less than 365 days aged plus up to sixty percent
  (60%) of finished goods limited to less than 30 days aged with respect to the Inventory Credit Facility; or b) up to
  95% Maximum Amount with Respect to the Inventory Credit Facility.

                  1.2.21.         “Borrowing Base Certificate” - a certificate executed by an authorized officer of
  Borrower to support its request for an Advance, in a form acceptable to Lender.

                     1.2.22.       “Borrower Account” – any deposit or securities account of Borrower with any bank,
  securities firm or other financial institution.

                    1.2.23.      “Business Day” - any day which is not a Saturday, Sunday, or other day on which
  national banks located in Arizona are authorized or required to be closed.

                    1.2.24.     “Cash Facility” – means the financing provided pursuant to this Agreement to
  substitute for Available Cash

                      1.2.25.       “Change of Control” –(a) A sale, hypothecation or other disposition is made of
  twenty (20%) percent or more of the beneficial interest in any class of voting equity of a Person, (b) the sale of all or
  substantially all of at least twenty (20%) of the Person’s assets, or (c) the change in the management or control of the
  Person, whether through the ownership or control of voting securities or otherwise.

                    1.2.26.      “Clearance Days” – the number of days for which Lender’s financial institution has
  to declare whether the Clearance Day Payments are good funds, which period shall be no less than three (3) Business
  Days from the date the payments are deposited into Lender’s account at that institution.

                  1.2.27.       “Clearance Day Payments” - payments posted by Lender, in whatever form and
  from whatever source, in reduction of the Obligations.

                     1.2.28.        “Collateral” – All Borrower’s present and future personal property and Fixtures in
  which Borrower has an interest, now or hereafter existing or acquired, and wheresoever located, tangible or
  intangible, including but not limited to, all present or hereafter existing or acquired Accounts, tools, Goods,
  Inventory, Equipment, furniture, receivables, security agreements, notes, bills, acceptances, Instruments, Deposit
  Accounts, Letters of Credit, Letter of Credit Rights, installment paper, Chattel Paper, Electronic Chattel Paper,
  Documents, certificates of deposit, tax refund claims, license fees, insurance claims and proceeds, Investment
  Property, Commercial Tort Claims, including without limitation, the claims which are the subject of on-going
  litigation known as the “Michelin Litigation”, and any other claims, conditional sale or lease contracts, cash or cash
  equivalents, chattel mortgages or deeds of trust, General Intangibles, all intellectual property including patents,
  trademarks, service marks, trade names, trade styles, and copyrights (and applications for all of the foregoing),
  contract rights, accounts receivable, and all other hypothecations, and promises or duties to pay money, now or
  hereafter owned or acquired by Borrower (including all rights of Borrower as an unpaid vendor), all guarantees and
  other security therefor, and all right, title and interest of Borrower in any returned, repossessed, rejected or unshipped
  goods, together with all of Borrower’s books of accounts, ledger cards and records, all vehicles, all computer
  programs, software and systems owned or operated in connection therewith, all tradenames, trade styles, all of the
  above accruing present and future advances and all and all products, proceeds, collections, returns, add-ons,
  accessions, replacements and substitutions of any of the foregoing, and all proceeds of proceeds.

                    1.2.29.         “Complete Termination” – Complete Termination occurs upon satisfaction of all
  of the following conditions:

                        1.2.29.1.     Payment and performance in full of all Obligations of Borrower to Lender;

                        1.2.29.2.    If Lender has issued or caused to be issued guarantees, promises, or letters of
 credit on behalf of Borrower, acknowledgement from all beneficiaries thereof that neither Lender nor any other issuer
 has any outstanding direct or contingent liability in connection therewith;
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                       1.2.29.3.    No pending or threatened Avoidance Claims exist and the time period under
 which such claim(s) can be asserted against Lender has expired, and no Exposed Payments exist.

                       1.2.29.4.    Borrower has executed and delivered to Lender and the Lender Parties a General
 Release in form acceptable to Lender.

                    1.2.30.        “Control Agreement” – a deposit or securities account control agreement in form
  and substance acceptable to Lender between Lender, Borrower, any Obligor with an ownership interest in the
  account, and the financial institution holding the deposit or securities account being pledged to Lender.

                    1.2.31.     “Credit Accommodation” - any Advance or other extension of credit by Lender to
  or on behalf of Borrower hereunder.

                  1.2.32.       “Default Rate” – Thirty percent (30%) per annum in excess of the Interest Rate or
  the maximum rate permitted by law, whichever is lower.

                    1.2.33.        “Early Termination Fee” is waived

                   1.2.34.       “Eligible Inventory” – The lesser of (i) 20% of eligible raw materials limited to non-
  woven and unopened plastic canisters and lids less than 365 days aged; (ii) 60% of finished goods limited to less
  than 30 days aged; Inventory of Borrower which excludes all goods on consignment, and which is:

                       1.2.34.1.      Subject to Lender’s valid first priority, perfected security interest; and

                       1.2.34.2.      Otherwise acceptable to Lender in its reasonable sole discretion.

                    1.2.35.        “Event of Default” - see Section 12 hereof.

                    1.2.36.        “Evidence of Special Credit Accommodation” - see Section 2.3 hereof.

                   1.2.37.       “Exposed Payments” – payments received by Lender from or for the account of an
  Account Debtor that has become subject to an Insolvency Proceeding, to the extent those payments cleared the
  Account Debtor’s deposit account within ninety (90) Days of the commencement of the commencement of the
  Insolvency Proceeding or are or may otherwise be subject to a claim for recall or avoidance of those payments under
  Applicable Law, in Lender’s determination.

                   1.2.38.       “Factoring Agreement” – means that certain Factoring and Security Agreement
  executed concurrently with this Agreement by and between Borrower and Lender.

                    1.2.39.        “Facility Fee” - means a fee in the amount of $45,000.

                     1.2.40.    “GAAP” - means generally accepted accounting principles set forth in the opinions
  and pronouncements of the Accounting Principles Board of the American Institute of Certified Public Accountants
  and pronouncements of the Financial Accounting Standards Board (or any successor authority) that are applicable as
  of the date of determination.

                    1.2.41.        “Good Faith” means “honesty in fact in the conduct or transaction concerned.”

                    1.2.42.      “Governmental Authority” means any applicable federal, state, local, foreign or
  other governmental or administrative body, instrumentality, department, or agency or any court, tribunal,
  administrative hearing body, arbitration panel, commission, or other similar dispute resolving panel or body, and any
  non-governmental organization with regulatory authority over the business or affairs of the Person.

                    1.2.43.        “Guarantor” – any Person now or hereafter executing the Guaranty or otherwise

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  guaranteeing the Obligations or any portion thereof, and “Guarantors” means all Guarantors collectively.

                     1.2.44.       “Guaranty” – the Validity Guaranty executed by Borrower in favor of Lender.

                     1.2.45.      “Incipient Default” – any event or state of facts that would constitute an Event of
  Default but for the requirement of providing notice, the passage of time, whether to permit a cure or otherwise, or
  the granting of other forbearance.

                    1.2.46.       “Intercreditor Agreement” – an intercreditor agreement in form and substance
  acceptable to Lender wherein the rights, priorities and obligations of Lender and a Permitted Third Party Creditor
  are set forth with respect to the obligations owed by Borrower to Lender and the Permitted Third Party Creditor,
  respectively.

                     1.2.47.       “Interest Rate” – 18.50% per annum based on a 360-day year.

                  1.2.48.     “Insolvency Date” – The date on which Lender has reasonably determined that an
  Account Debtor has become Insolvent.

                   1.2.49.         “Insolvent” or “Insolvency”- An Account Debtor has become Insolvent or is
  experiencing Insolvency if its liabilities exceed its assets, it fails to pay an Eligible Account or other accounts as they
  come due, it admits its inability to honor its financial obligations or it otherwise meets the definition of that term
  under Applicable Law.

                    1.2.50.       “Inventory” - has the meaning as set forth in the UCC, plus all inventory now owned
  or hereafter acquired by Borrower, including, but not limited to, all raw materials, work in process, finished goods,
  inventory leased to others or held for lease, merchandise, parts and supplies of every kind and description, including
  inventory temporarily out of the Borrower’s custody or possession, together with all returns on accounts.

                   1.2.51.       “Inventory Credit Facility” – means the credit facility provided pursuant to this
  Agreement to finance the Eligible Inventory.

                     1.2.52.       “Key Employee(s)” – Yarron Bendor

                     1.2.53.       “Lender” – See Preamble.

                   1.2.54.      “Lender Account” means an account established at a financial institution established
  by Lender, which account and institution may be changed from time-to-time at Lender’s discretion.

                    1.2.55.      “Lender Party” – Lender and any of its Affiliates, and their respective equity
  owners, directors, managers, officers, employees and agents.

                    1.2.56.      “Lender’s Representatives” - Lender’s managers, officers, employees, agents,
  designees, attorneys, and accountants.

                    1.2.57.       “Lending Office” – 4530 E. Shea Blvd., Suite 170, Phoenix, AZ 85028 or any other
  or successor office designated by Lender or its successors.

                  1.2.58.        “Loan Documents” - this Agreement, the Note, each Guaranty, each Control
  Agreement, any Release and any other documents, instruments and agreements, executed and/or delivered in
  connection herewith or therewith, as the same now exist or may hereafter be amended, modified, supplemented,
  extended, renewed, restated or replaced.

                     1.2.59.       “Market Value” – the estimated orderly liquidation value of the item.


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                     1.2.60.      “Material Adverse Change” means (a) a material adverse change in the business,
  operations, condition (financial or otherwise) or prospects of Borrower or any of its Affiliates, (b) a material
  impairment of the ability of Borrower, any Obligor or any their Affiliates’ ability to perform their respective
  obligations under the Loan Documents to which the Person is a party or of Lender’s ability to enforce the Loan
  Documents, exercise rights with respect to the Obligations or realize upon the Collateral, or (c) any impairment of
  the enforceability of the Loan Documents or priority of the Lender’s Liens with respect to the Collateral.

                    1.2.61.      “Maximum Amount” – Three Million Dollars ($3,000,000) comprised of Two
  Million Dollars ($2,000,000) in the form of the Accounts Receivable Factoring Facility; Five Hundred Thousand
  Dollars ($500,000) in the form of the Inventory Credit Facility, and Five Hundred Thousand Dollars ($500,000) in
  the form of the Cash Facility.

                     1.2.62.       “Minimum Monthly Borrowing” is waived

                     1.2.63.       “Monetary Collateral” - cash, checks, deposits, cash-equivalents or other proceeds
  of Collateral, including electronic payments.

                     1.2.64.        “Note” – The Revolving Credit Note.

                     1.2.65.        “Obligated Party” - any entity obligated with respect to any Collateral.

                      1.2.66.         “Obligations” - all present and future obligations liabilities, covenants, agreements,
  guaranties, warranties and representations of any Obligor to any Lender Party of any and every kind and nature,
  owing by Obligor to Lender whether or not for the payment of money, howsoever created, incurred, acquired, arising
  or evidenced, , whether direct or indirect, absolute or contingent, due or to become due, joint or several, certain or
  uncertain, determined or undetermined, monetary or nonmonetary, liquidated or unliquidated, secured or unsecured,
  original or renewed or extended, primary or secondary, as principal, guarantor or surety, direct or indirect, including
  any obligations arising pursuant to letters of credit or acceptance transactions or any other financial accommodations;
  and all principal, interest, fees, charges, expenses, attorneys, accountants and experts’ fees and expenses chargeable
  to Borrower or any Obligor or incurred by Lender in connection with this Agreement and/or the transaction(s) related
  thereto, and regardless of whether the Obligation arises before, during or after the commencement of any Insolvency
  Proceeding in which an Obligor is a debtor. By way of clarification, the Parties intend that the Obligations include
  all obligations owed by any Obligor to Lender or any of its Affiliates pursuant to any other contractual arrangements
  existing between them.

                    1.2.67.       “Obligors” – Borrower, all Guarantors and any other Person obligated to pay or
  perform any of the Obligations owed to Lender, whether pursuant to any of the Loan Documents, by operation of
  law, pursuant to successor liability or otherwise.

                  1.2.68.      “Online Reporting Service” - means the system set up on Lender’s website where
  Borrower provides Lender with the pertinent data necessary for Lender to administer this Agreement.

                     1.2.69.       “Permitted Third Party Creditor” – See Schedule 1.2.69.

                     1.2.70.      “Person” means any natural person, corporation, limited liability company, limited
  partnership, general partnership, limited liability partnership, joint venture, trust, land trust, business trust, or other
  organizations, irrespective of whether it is a legal entity, and any Governmental Authority.

                     1.2.71.       “Preference Reserve” – has the meaning set forth in Section 18.1.

                  1.2.72.      “Renewal Period” – the period of time commencing on either the Anniversary Date
  or on any Renewal Termination Date and terminating on the date that is one year thereafter.

                     1.2.73.        “Renewal Termination Date” – the date on which a Renewal Period terminates.

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                    1.2.74.       “Special Credit Accommodation” - see Section 2.3 hereof.

                    1.2.75.         “Subsidiary” of a Person means a corporation, partnership, limited liability
  company, trust or other entity in which that Person directly or indirectly owns or controls securities having voting
  power to elect a majority of the governing individual or body of that Person, with a twenty (20%) or greater ownership
  or controlling interest presumed to constitute sufficient control to elect that majority, unless Lender expressly
  approves otherwise in writing.

                     1.2.76.     “Termination Date” - the earlier of (i)(a) the Anniversary Date, or (b) the Renewal
  Termination Date, as the case may be, or (ii) the date on which Lender or Borrower elects to terminate this Agreement
  pursuant to the terms herein.

                    1.2.77.      “Transaction Documents” means with respect to Accounts, all agreements,
  promissory notes, instruments, UCC financing statements, and other documents executed and delivered in connection
  with the Accounts.

                  1.2.78.         “UCC” - The Uniform Commercial Code in the State of Arizona, as it may be
  amended from time to time.

                     1.2.79.     “Value of Eligible Inventory” - means, as determined by Lender in good faith, the
  lower of (a) cost, computed on a first-in-first-out basis in accordance with GAAP, or (b) Market Value.

    2.   Credit Facilities.

        2.1     Advances. Subject to the terms and conditions of this Agreement, from the date on which this
 Agreement becomes effective until the Termination Date:

                     2.1.1.       Lender, shall, from time to time, at the request of Borrower, make advances
  (“Advances”) to Borrower, less any Availability Reserves, so long as, before and after such Advance, the Obligations
  with respect to each of the Accounts Receivable Factoring Facility, the Inventory Credit Facility, and the Cash
  Facility do not exceed the Allowable Amount and all the conditions to the making of that Advance have been satisfied
  or waived in Lender’s sole discretion.

          2.2      Borrowing Base. Lender may, in its discretion, from time to time, upon not less than two (2) days
 prior notice to Borrower, reduce the Borrowing Base to the extent that Lender determines in good faith that: (a) (1)
 the number of days of the turnover of the Inventory for any period has increased in any material respect, or (2) the
 Market Value of the Eligible Inventory, or any category thereof, has decreased, or (3) the nature and quality of the
 Inventory has deteriorated, or (b) Borrower, any Obligor or any Collateral has experienced or is expected to experience
 a Material Adverse Change or other material adverse circumstances.

                    2.2.1.        In determining whether to reduce the Borrowing Base, Lender may consider events,
  conditions, contingencies or risks which are also considered in determining Eligible Inventory, or in establishing
  Availability Reserves, including, without limitation, if Account Debtor becomes a party in an Insolvency Proceeding.

           2.3      Special Credit Accommodations. Lender may, in its sole and absolute discretion, from time to
 time, extend Credit Accommodations to Borrower in excess of the Allowable Amount (any Credit Accommodation
 extended pursuant to this Section 2.3 being a “Special Credit Accommodation”). Each Special Credit Accommodation
 may be evidenced by a writing in form and substance satisfactory to Lender in its sole discretion (any such writing,
 an “Evidence of Special Credit Accommodation”). Unless expressly stated to the contrary in any Evidence of Special
 Credit Accommodation, each Special Credit Accommodation shall be payable on demand and shall accrue interest at
 the Interest Rate. The terms of the Loan Documents shall govern each Special Credit Accommodation except to the
 extent expressly stated otherwise in the applicable Evidence of Special Credit Accommodation.




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          2.4      General Provisions.

                  2.4.1.      Borrowing Base Certificate and Asset Report. Each request from Borrower for a
  Credit Accommodation shall be accompanied by a Borrowing Base Certificate and Asset Report, completed and
  signed by Borrower.

                   2.4.2.         Crediting Borrower's Account. All Credit Accommodations by Lender may be
  made by deposits or transfers to any Borrower Account.

                   2.4.3.        Authorization for Credit Accommodations. Subject to the terms and conditions of
  this Agreement, Lender is authorized to make Credit Accommodations:

                        2.4.3.1.      upon telephonic, email, electronic, written or other instructions received from
 anyone purporting to be an officer, employee or representative of Borrower or using Borrower’s access codes or
 passwords, whether in the Online Reporting Service or otherwise, and Borrower assumes the risk of any requests,
 authorizations or instructions Lender believes originated by Borrower’s authorized representatives, without any duty
 on the part of Lender to verify the authenticity of same; or

                        2.4.3.2.      At the sole discretion of Lender, and notwithstanding any other provision in this
 Agreement, if it determines are necessary or appropriate to protect any Collateral or its interests therein or to meet any
 Obligations, including any interest not paid when due.

                    2.4.4.        Limitations on Credit Accommodations. Notwithstanding anything to the contrary
  contained herein, Lender shall not be obligated to make a Credit Accommodation if, before or as a result thereof, the
  Obligations shall with respect to each of the Accounts Receivable Factoring Facility, the Inventory Credit Facility,
  and the Cash Facility exceed the Allowable Amount, if an Event of Default or Incipient Default then exists or would
  exist by the making of that accommodation, if any of the other conditions to the making of the Advance are not
  satisfied in Lender’s sole discretion, or Lender deems itself undersecured or would be undersecured based on the
  Collateral’s Market Value.

    3.   Payments by Borrower.

          3.1      In General.

                      3.1.1.       Amount and Timing of Payments. The Accounts Receivable Credit Facility shall
  be paid strictly in accordance with the Factoring Agreement. Principal, accrued interest and other amounts due with
  respect to the Inventory Credit Facility shall be paid as set forth in the Note, unless otherwise set forth in an Evidence
  of Special Credit Accommodation or other Loan Document. The Cash Facility together with all accrued interest
  thereon shall be paid in full within 30 days of the date of this Agreement.

                      3.1.2.        Place of Payments. All payments due by Borrower hereunder shall be made by
  Borrower to Lender at the Lending Office, or to an Account designated by Lender; provided, however, that Borrower
  shall bear the risk of assuring that all payments made to Lender are actually received by Lender.

                    3.1.3.       Prepayments; Application of Payments. Upon sixty (60) days’ advance written
  notice to Lender, which may be waived in Lender’s sole discretion, Borrower shall have the right to make
  prepayments at any time in reduction of the Obligations, in whole or in part, subject to Borrower’s obligation to pay
  Lender the Early Termination Fee, unless waived by Lender in Lender’s sole discretion; provided, however, that
  Lender may apply any payments received to the Obligations, or portion thereof, in any manner and in any order as
  Lender may determine in its sole discretion, notwithstanding contrary instructions received. Unless otherwise
  required by law or determined by Lender, all payments received shall be credited first to outstanding costs and fees
  to be charged to Borrower, then to interest and finally to the principal amounts due hereunder.

                   3.1.4.        Borrower Accounts. To facilitate payments either way to be made between Lender
  and Borrower, and to perfect Lender’s security interest in Collateral included with any Borrower Account, Borrower,
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  Lender and each financial institution holding any Borrower Account shall enter into a Control Agreement in form
  and substance acceptable to Lender for each Borrower Account, except to the extent that a pledge of that account
  may be prohibited by law, such as for employee retirement or withholding accounts. In the event that Borrower is
  unable to obtain a Control Agreement from the financial institution for the remaining accounts in form acceptable to
  Lender, Borrower shall move that account to a financial institution acceptable to Lender which will enter into an
  acceptable Control Agreement. Borrower shall not own, operate or deposit any Collateral or funds into any account
  with a financial institution that is not subject to a Control Agreement, and the deposit of any funds into any other
  deposit or securities account of any kind (checking, savings, investment or otherwise) shall constitute a material
  breach of this Agreement.

                    3.1.5.         ACH Debits. To satisfy any of the Obligations, Lender is hereby authorized by
  Borrower to initiate electronic debit entries through the ACH or other electronic payment system against any account
  maintained by Borrower, including any Borrower Account. This authorization is coupled with an interest and is
  therefore irrevocable. At the Lender’s request, Borrower shall execute and deliver to Lender an authorization
  agreement for ACH debits and credits in form acceptable to Lender (the “ACH Agreement”). In the event that
  Borrower is unable to obtain an ACH Agreement from its current financial institution in form acceptable to Lender,
  upon Lender’s request, Borrower shall move its operating account to a financial institution acceptable to Lender.
  The Control Agreement and ACH Agreements may be combined into one Agreement if acceptable to all parties
  thereto.

          3.2       Interest and Fees.

                     3.2.1.        Interest.

                          3.2.1.1.      Interest on Advances. Subject to Section 3.2.1.3 hereof, interest on the
 outstanding Advances on the outstanding amounts owed on Inventory Credit Facility and the Cash Facility shall accrue
 at the Interest Rate, and shall be payable monthly in arrears, but if not paid shall be capitalized and added to the balance
 due under the Note; provided, however, that the capitalization of that interest shall not excuse the failure to timely pay
 the interest.

                        3.2.1.2.       Default Interest. Immediately upon the occurrence and during the continuance
 of an Event of Default, interest on the Obligations shall accrue at the Default Rate, subject to the provisions of Section
 3.2.1.6 below.

                         3.2.1.3.    Accrual Regardless of Assessment. Lender’s failure to assess interest at the
 Default Rate as provided hereunder shall not be deemed a waiver by Lender to charge the Default Rate. Lender
 reserves the right to, and Borrower hereby acknowledges that Lender may, recalculate interest at the Default Rate.

                        3.2.1.4.      Calculation of Interest. All interest charged hereunder shall be computed on the
 basis of a three hundred sixty (360) day year for the actual number of days elapsed.

                        3.2.1.5.      Clearance Day Delay. Lender shall, for the purpose of the computation of
 interest due hereunder, add the Clearance Days to any Clearance Day Payments, which is acknowledged by the parties
 to constitute an integral aspect of the pricing of Lender’s facility to Borrower, and shall apply irrespective of the
 characterization of whether receipts are owned by Borrower or Lender. Should any check or item of payment not be
 honored when presented for payment, regardless of whether it is dishonored during or after expiration of the Clearance
 Days, then Borrower shall be deemed not to have made that payment, and interest shall be recalculated accordingly.

                         3.2.1.6.      Interest in Excess of Maximum Rates. It is the intent of the parties to this
 agreement that all payments and Obligations owed by Borrower or any other Obligor to Lender hereunder, whether in
 the nature of interest, fees, charges, expenses or otherwise, that may be deemed to be interest pursuant to applicable
 law, shall be authorized by Borrower to be included in the interest rate to be charged to it hereunder. In no event,
 however, shall the amount of Interest due or payable hereunder exceed the maximum rate of interest allowed by
 applicable law. In the event payment is inadvertently paid by Maker or inadvertently received by Noteholder in
 violation of those maximum rates, then the excess sum shall be credited as a payment of principal unless Maker elects
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 to have the excess sums refunded to it forthwith. It is the express intent hereof that Noteholder not receive, and Maker
 not pay or be obligated to pay, directly or indirectly, Interest in excess of that which may be legally paid by Maker
 under applicable law.

                    3.2.2.         Fees.

                       3.2.2.1.      Facility Fee. Borrower shall pay the Facility Fee from an Advance on the
 Inventory Credit Facility within 30 days of the entry of an order of the Bankruptcy Court approving this Agreement.

                        3.2.2.2.    Miscellaneous Fees. Borrower shall pay fees of $30.00 for each wire transfer
 and fees of $5.00 for each ACH transfer.

                        3.2.2.3.      INTENTIONALLY OMITTED

                       3.2.2.4.     Collateral Management Fee. Borrower shall pay Lender together with each
 payment of interest hereunder, a Collateral Management Fee equal to $3,500 per month.

                         3.2.2.5.     Misdirected Payment Fee. If any payment received by Borrower with respect to
 the Collateral is cashed, deposited or negotiated by Borrower pursuant to Section 6.2, it is understood by Borrower
 that the action shall constitute an Event of Default hereunder and may subject Borrower to civil liability and/or
 criminal prosecution. Notwithstanding that the action constitutes an Event of Default under this Loan and Security
 Agreement, Borrower shall immediately be obligated to pay said sum to Lender, plus an amount equal to Fifteen
 Percent (15%) of said sum, not as a penalty, but as liquidated damages to compensate Lender for additional
 administrative and collection expenses resulting from that action. In addition to all other remedies, Lender shall have
 the right to debit those amounts against any deposit account of Borrower, pursuant to Section 3.1.5.

    4. Grant of Security Interest. To secure the payment and performance in full of the Obligations under this
Agreement, the other Loan Documents and any other now existing or future agreement between Borrower and Lender,
the Borrower hereby (i) grants to the Lender a first priority security interest in the Collateral and all proceeds and
products thereof, and (ii) hereby assigns, transfers and conveys to Lender all of Borrower’s right, title and interest in
and to all present and future Collateral.

 The security interest in the Collateral shall extend and attached to:

    (a) All Collateral which is presently in existence and which is owned by Borrower or in which Borrower has any
 ownership interests, and all Collateral which Borrower may purchase or in which Borrower may acquire any
 ownership interest at any time and from time to time in the future;

     (b) All Collateral wherever located, including, without limitation, all Collateral which may be located on
 Borrower’s premises, is in transit to or from Borrower’s premises, or held by any carriers, forwarding agents, truckers,
 warehousemen, vendors, selling agents, finishers, converters, processors, or other third persons who may have
 possession of the Collateral; and

     (c) All Collateral and any portion thereof which may be returned, rejected, reclaimed or repossessed by either of
 Borrower or Lender from Borrower’s customers, or any other source, as well as to all supplies, goods, incidentals,
 packaging materials, and any other items which contribute to the finished goods or products manufacturing or
 processed by Borrower, or to the sale, promotion or shipment thereof.

 Borrower’s failure to promptly deliver to Lender any schedule, report, statement or other information required by this
 Agreement or any document related thereto shall not affect, diminish, modify or otherwise limit Lender’s security
 interests in the Collateral or rights and remedies under this Agreement.

 Notwithstanding the grant of any security interest in the Collateral to Lender, Lender shall have no duty as to the
 collection or protection of any Collateral or as to the preservation of any rights pertaining to it, except for the use of
 reasonable care in the custody and preservation of any Collateral in its actual possession.
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 Borrower agrees to affix tracking devices supplied by Lender on any Collateral requested by Lender and if affixed,
 Borrower agrees that it shall not remove or disable those devices, nor shall it permit any other Person (other than any
 Lender Representative) to do so for so long as the items shall remain Collateral.

 Borrower shall secure the following assurance from existing lienholders (or equivalent order of the Bankruptcy Court)
 subordinating all lien rights of such existing lienholders to the lien rights granted to Lender hereunder.

     (y) Gantz Trust: full subordination of all claimed liens and indebtedness.

      (x) NSF: full subordination of all claimed liens and indebtedness or written confirmation from NSF that it does
 not claim lien rights in any assets other than certain purchase money security interests or leased equipment on which
 it previously provided financing to Borrower.

 Except as expressly excepted hereunder, Lender's liens and security interests shall be senior to all other liens and
 security interests and shall not be primed, surcharged, altered or impaired or otherwise adversely affected in any way.

    5.    Authorization to File Financing Statements.

         5.1   The Borrower irrevocably authorizes the Lender at any time and from time to time to file in any
 Uniform Commercial Code jurisdiction any initial financing statements and amendments thereto that:

                     5.1.1.        indicate the Collateral as all assets of the Borrower or words of similar effect,
  regardless of whether any particular asset comprised in the Collateral falls within the scope of Article 9 of the UCC,
  or as being of an equal or lesser scope or with greater detail;

                      5.1.2.        contain any other information required by part 5 of Article 9 of the UCC for the
  sufficiency or filing office acceptance of any financing statement or amendment, including (i) whether the Borrower
  is an organization, the type of organization, and any organization identification number issued to the Borrower and,
  (ii) in the case of a financing statement filed as a fixture filing or indicating Collateral as as-extracted collateral or
  timber to be cut, a sufficient description of real property to which the Collateral relates; and

                    5.1.3.       contain a notification that the Borrower has granted a negative pledge to the Lender,
  and that any subsequent lienor may be tortiously interfering with Lender’s rights;

                     5.1.4.        advise third parties that any notification of Borrower’s Account Debtors by those
  creditors will interfere with Lender’s collection rights.

          5.2      The Borrower agrees to furnish any information related to Account Debtors, third party creditors
 and related obligations to the Lender promptly upon request.

         5.3      The Borrower ratifies its authorization for the Lender to have filed any like initial financing
 statements or amendments thereto if filed prior to the date hereof.

         5.4       The Lender may add any supplemental language to any financing statement as Lender may
 determine to be necessary or helpful in acquiring or preserving rights against third parties.

    6.    Collection and Administration of Accounts.

           6.1     Collection. Except to the extent prohibited by any Intercreditor Agreement to which Lender is a
 party:

                     6.1.1.        Borrower shall place a notification on its invoices sent to any of its Account Debtors
  and to all other Persons owing it money that payments made to or for the benefit of Borrower or other Monetary
  Collateral be (or, if received by Borrower, shall cause same to be):

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                        6.1.1.1.      sent to a post office box designated by or in the name of Lender or Borrower but
 as to which access is limited solely to Lender (the “Lockbox”). Borrower shall have no access to the Lockbox or to
 Lender’s Account. Lender may endorse and deposit those payments into Lender’s Account. This authorization is
 coupled with an interest and is irrevocable. Upon collection thereof, the payments shall be credited against the
 Obligations as otherwise provided herein: or

                       6.1.1.2.    deposited into Lender’s Account or another blocked bank account under
 arrangements with the depository bank under which all funds deposited to the blocked bank account are required to
 be transferred to Lender.

                      6.1.1.3.     In connection with the foregoing, Borrower shall execute post office box and/or
 blocked bank account agreements as Lender shall specify, to the extent not already addressed in the applicable Control
 Agreements.

                         6.1.1.4.     In the event that Borrower receives any payments directly from a payee rather
 than the payment being directed into the Lockbox, Borrower shall immediately forward those payments to the Lockbox
 (or directly to Lender’s Account), endorsing any negotiable instruments to Lender but without cashing or otherwise
 first depositing the same into Borrower’s accounts. Failure of Borrower to do so within three Business Days of receipt
 of those funds shall be a material breach of this Agreement.

           6.2      Payments to Borrower. In the event that Lender is entitled to receive Monetary Collateral as set
 forth in Section 6.1 or pursuant to any of the other Loan Documents, and in the event Borrower receives payments or
 other proceeds of Collateral in the form of checks, wire transfer or other funds transfer mechanism, Borrower shall
 immediately transfer those funds to Lender. Borrower shall immediately forward any checks received to Lender,
 endorsed to Lender but without deposit of those instruments into Borrower’s deposit or other accounts.

          6.3     Lender's Powers. Borrower hereby authorizes Lender, at Borrower’s sole expense, to exercise at
 any time in Lender’s discretion, and without any obligation on Lender’s part, to do all or any of the following powers,
 which powers are irrevocable until all of the Obligations have been paid in full:

                     6.3.1.         receive, take, endorse, assign, deliver, accept and deposit, in the name of Lender or
  Borrower, any and all cash, checks, commercial paper, drafts, remittances and other instruments and documents
  relating to the Collateral or the proceeds thereof;

                    6.3.2.        After an Event of Default or an Incipient Default:

                     6.3.2.1.     Take or bring, in the name of Lender or Borrower, all steps, actions, suits or
 proceedings deemed by Lender necessary or desirable to effect collection of or other realization upon any Collateral;

                       6.3.2.2.   Change the address for delivery of Borrower’s mail to Lender and to receive and
 open mail addressed to Borrower;

                       6.3.2.3.       Extend the time of payment of, compromise, or settle for cash, credit, return of
 merchandise, any and all rights or claims related to any Collateral and discharge or release any Obligated Party without
 affecting any of the Obligations;

                    6.3.3.       Execute, file and serve, in its own name or in the name of Borrower, mechanics lien
  or similar notices, or claims under any payment or performance bond for the benefit of Borrower or Lender, as
  appropriate, and

                     6.3.4.        Pay any sums necessary to discharge any lien or encumbrance which is senior to
  Lender’s security interest in the Collateral, which sums shall be included as Obligations hereunder, and which sums
  shall accrue interest at the Default Rate until paid in full.

  Lender’s performance of any of the foregoing shall not be deemed to be a cure of any Event of Default or Incipient
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  Default by Borrower.

          6.4       Release. Upon execution of this Agreement, upon the making of any Advance or the provision of
 any other Credit Accommodation, Borrower hereby and thereby shall be deemed to have released and exculpated
 Lender and Lender’s Representatives from any liability arising from any acts under this Agreement or any of the other
 Loan Documents, or in furtherance thereof, whether of omission or commission, and whether based upon any error of
 judgment or mistake of law or fact, except for their gross negligence or willful misconduct. In no event shall Lender
 or Lender’s Representatives have any liability to Borrower for lost profits or other indirect, special, incidental or
 consequential loss or damage whether caused by tort (including negligence), breach of contract or otherwise, which
 may arise in respect of this Agreement or any other Loan Document, Lender’s obligations hereunder or thereunder,
 for any of the transactions contemplated hereunder or thereunder, or from the use of the Online Reporting Service,
 including equipment or property used in connection with the Online Reporting Service, or for loss of business,
 revenue, goodwill or anticipated savings.

    7. Conditions Precedent to All Credit Accommodations. Subject to the other terms and conditions contained
herein, Lender’s obligation to make any Credit Accommodation available to Borrower is subject to the satisfaction of,
or waiver of, immediately prior to or concurrently with the making of the Credit Accommodation, the following
conditions precedent:

            7.1  Agreement, Note and Other Loan Documents. Lender shall have received this Agreement, the
 Note drawn to its order, and the other Loan Documents, all duly executed by the Borrower, all of which shall remain
 in effect.

          7.2     Borrowing Base Certificate. Lender shall have received a Borrowing Base Certificate which
 includes (i) a detailed calculation of the Borrowing Base as of the date of the requested Advance, and (ii) detail
 regarding all Accounts.

           7.3     Intercreditor Agreement. Lender, Borrower and Permitted Third Party Creditor shall have entered
 into the Intercreditor Agreement on terms acceptable to Lender, if applicable.

          7.4     Organizational Documents. Lender shall have received copies of Borrower’s Certificate of
 Incorporation, Articles of Organization, Bylaws, Shareholder Agreements, Operating Agreement or other
 organizational documents, as amended, and as applicable (collectively, the “Organizational Documents”), certified by
 the Secretary of Borrower;

          7.5   Evidence of Authorization. Lender shall have received certified copies of all actions (in form, scope
 and substance satisfactory to Lender) taken by the Borrower and any Guarantor to authorize the execution, delivery
 and performance of this Agreement, the Note, the Guaranties and other Loan Documents, if any, together with other
 papers as Lender or its counsel may require.

          7.6       Financial Condition. Lender shall be satisfied that the financial statements previously delivered to
 Lender by Borrower and any other Obligor fairly present the business and financial condition of the Borrower and
 that Obligor as of the date thereof and that no Material Adverse Change in their financial condition has occurred.

            7.7      Equipment and Inventory Liens. Unless waived by Lender in its sole discretion, Lender shall have
 received evidence satisfactory to Lender in its sole and absolute discretion that Lender’s Liens have been endorsed on
 all certificates of title with respect to Equipment or Inventory which are in existence as of the date of the requested
 Credit Accommodation to the extent that endorsement is required to perfect Lender’s Liens under Applicable Laws;

          7.8     Insurance. Lender shall have received a certificate of insurance with respect to Borrower, together
 with the endorsements thereto, as are required by Section 9.9, the form and substance of which shall be satisfactory to
 Lender;

         7.9       Legal Opinion. Lender shall have received an opinion of counsel to each Obligor in form and
 substance satisfactory to Lender;
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           7.10     Tax Returns. Lender shall have received satisfactory evidence (including a certificate of the chief
 financial officer of the Borrower) that all tax returns required to be filed by Borrower and its Affiliates have been
 timely filed and all taxes upon Borrower, its Affiliates, and their respective properties, assets, income, and franchises
 (including real property taxes, sales taxes, and payroll taxes) have been paid;

         7.11      Due Diligence. Lender shall have completed its business, legal, and Collateral due diligence and
 Lender shall be satisfied with the results thereof;

          7.12   Further Documents. Lender shall have received such further documents, instruments and
 agreements as Lender may request in form and substance satisfactory to Lender and Lender’s counsel in their sole
 discretion.

        7.13       Representations and Warranties. The representations and warranties contained in the Loan
 Documents shall be true and correct in all respects on and as of the date of the Credit Accommodation, certified by
 Borrower to that effect.

          7.14     Covenants. The covenants contained in the Loan Documents shall be true and correct in all respects
 on and as of the date of the Credit Accommodation, certified by Borrower to that effect.

         7.15     No Event of Default or Incipient Default. No Event of Default or Incipient Default shall have
 occurred and be continuing on the date of any Advance.

         7.16    Payment of All Fees. Borrower shall have paid to Lender all accrued and unpaid fees and other
 amounts due and payable hereunder or any other Loan Document.

          7.17     Automatic Perfection and Lift of Stay. On the filing date of the Bankruptcy Case or as soon as
 practicable thereafter, Borrower shall use its best efforts to file with the Bankruptcy Court a motion, in form and
 substance acceptable to Lender in its discretion, requesting that Lender’s liens and security interests are automatically
 perfected without further action by Lender, and the Bankruptcy Court shall have entered orders approving such
 motion. The orders of the Bankruptcy Court shall have not been appealed, stayed, modified, or amended, and shall be
 made effective immediately upon their entry without any stay of the effect of such orders so as to permit immediate
 funding within the provisions and protections of 11 U.S.C. §364.

           7.18     Super-Priority Administrative Expense Claim. The Bankruptcy Court shall have granted Lender
 a super-priority administrative claim on account of the Advances pursuant to 11 U.S.C. § 364(c)(1), with priority over
 all other administrative expense claims except those payable for quarterly fees to the Office of the United States
 Trustee, and an agreed carve-out for Debtor’s post-petition professional fees. The final order of the Bankruptcy Court
 authorizing the valid and perfected first priority liens and security interests and super‐priority administrative expense
 claims in favor of the Lender shall also contain a finding by the Bankruptcy Court that (a) the extension of credit and
 making of loans by Lender hereunder to Borrower are secured by valid and perfected first position liens and security
 interests upon the Collateral including all Inventory, (b) the extension of credit and making of loans by Lender
 hereunder to Borrower is being made in good faith and, therefore, Lender shall be entitled to the full protections of 11
 U.S.C. §364(e) and (c) shall be made effective immediately without any stay of the effect of such Order (including,
 without limitation, any stay pursuant to Bankruptcy Rule 6004(h) so as to permit immediate funding within the
 provisions and protections of 11 U.S.C. §364(e).

     8. Authorization of Lender. The Borrower irrevocably authorizes Lender to take any and all appropriate action
and to execute any and all documents and instruments, in the name of Borrower, that may be necessary or desirable to
accomplish the purposes of this Agreement including the following, provided, however that Lender shall be under no
obligation to do any of those items:

          8.1        upon the occurrence and during the continuance of an Event of Default or Incipient Default,
 generally to sell, transfer, pledge, make any agreement with respect to, or otherwise deal with any of the Collateral in
 a manner as is consistent with the UCC and as though the Lender were the absolute owner thereof, and to do at the
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 Borrower’s expense, all acts which the Lender deems necessary or appropriate to protect, preserve, or realize upon
 the Collateral and the Lender’s security interest therein, to effect the intent of this Agreement, including, without
 limitation:

                    8.1.1.        the filing and prosecuting of registration and transfer applications with the
  appropriate federal or local agencies or authorities with respect to trademarks, copyrights and patentable inventions
  and processes;

                     8.1.2.        the execution, delivery, and recording, in connection with any sale or other
  disposition of any Collateral, of the endorsements, assignments, or other instruments of conveyance or transfer with
  respect to the Collateral; or

                     8.1.3.        the filing on behalf of Borrower with any Governmental Authority as are appropriate
  documents (including applications, certificates, and tax returns) as may be required for purposes of having Borrower
  qualified to transact business in a particular state or geographic location.

    9. Affirmative Covenants of Borrower.            Until full payment of the Obligations and termination of this
Agreement:

                    9.1.1.       Financial Statements, Reports and Certifications. Borrower shall furnish the
  unaudited financial statements of Borrower on a monthly basis and of each Guarantor to Lender but not less than
  annually, in form and substance satisfactory to Lender.

                    9.1.2.        Tax Returns. Borrower shall furnish copies of each of Borrower’s and Guarantors’:

                         9.1.2.1.      federal income tax returns, and any amendments thereto, within ten (10) days of
 the filing thereof with the Internal Revenue Service and each applicable state; and

                        9.1.2.2.        federal payroll tax returns within ten (10) days of filing, together with proof,
 satisfactory to Lender, that all taxes noted therein have been paid.

                    9.1.3.        Asset Reports and Certifications. Borrower shall furnish:

                      9.1.3.1.      Asset Reports with respect to all of Borrower’s Accounts, Inventory, and
 Equipment, to be provided: (a) on a monthly basis, (b) whenever Borrower requests an Advance, together with a
 Borrowing Base Certificate, and (c) whenever otherwise requested by Lender.

                       9.1.3.2.        Unless otherwise excused by Lender, Certifications from each sales person or
 sales entity employed by Borrower, certifying, in the form prescribed by Lender, as to the accuracy and completeness
 of the Accounts, Inventory and Equipment in the sales person’s or sales entity’s possession. Those Certifications shall
 be provided to Lender (i) within twenty (20) days of the date hereof, (ii) quarterly thereafter, within thirty (30) days
 of the end of each quarter, and (iii) whenever requested by Lender.

           9.2      Services Relating to Transaction Documents. In consideration of the Advances to be made by
 Lender pursuant hereto, Borrower covenants and agrees to diligently and faithfully perform the following services
 relating to the Transaction Documents, unless and until notified by Lender that it does not desire Borrower to continue
 to perform any or all of those services:

                     9.2.1.        Borrower shall keep or will cause to be kept in a safe place, at its chief executive
  office, accurate and complete copies (or the originals if Lender determines in its sole discretion to allow Borrower to
  retain the originals) of the Transaction Documents, and all necessary, proper and accurate books, records, ledgers,
  correspondence and other documents or instruments related to or concerning the Accounts, the Collateral, and the
  Transaction Documents.



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                  9.2.2.        Borrower will use commercially reasonable efforts to collect all payments due under
  the Accounts. Borrower shall promptly inform Lender, in writing, of all decisions regarding collection efforts
  concerning any Accounts, and concerning enforcement of rights and remedies thereof.

         9.3      Title to Property. Upon Lender’s request, Borrower will promptly deliver to Lender, properly
 endorsed, any and all evidence of ownership of, certificates of title, or applications for title to any items of Collateral.

           9.4       Maintenance of Properties. Borrower will maintain and preserve all of its properties which are
 necessary or useful in the proper conduct of its business in good working order and condition, ordinary wear and tear
 excepted, and comply at all times with the provisions of all leases to which it is a party as lessee so as to prevent any
 loss, default or forfeiture thereof or thereunder. Borrower shall not permit any item of Personal Property Collateral to
 become a fixture to Real Property or an accession to other property, and it shall assure that the Personal Property
 Collateral shall at all times remain personal property.

          9.5       Inspections.

                    9.5.1.       Borrower will permit Lender or any representatives thereof, during usual business
  hours, without notice to Borrower, to periodically:

                        9.5.1.1.      have access to all premises where Collateral is located, including, without
 limitation, all premises utilized by Borrower’s sales representatives to safe-keep Collateral, for the purposes of
 inspecting (and removing, if after the occurrence of an Event of Default) any of the Collateral, including Borrower’s
 books and records and the Transaction Documents; and

                      9.5.1.2.     permit Lender or its designees to inspect, audit, make copies of, and make extracts
 from Borrower’s records and the Transaction Documents as Lender may request.

                    9.5.2.       without expense to Lender, Borrower authorizes Lender to use any of Borrower’s
  personnel, equipment, including computer equipment, programs, printed output and computer readable media,
  supplies and premises for the collection of Accounts and realization on other Collateral as Lender, in its sole
  discretion, deems appropriate.

          9.6       Expenses.

                      9.6.1.       Generally. Borrower shall pay all out-of-pocket expenses of Lender (including, but
  not limited to, fees and disbursements of Lender’s counsel) incident to (whether by judicial proceedings or otherwise,
  and whether any resulting dispute resolution procedure involving tort, contract or other claims):

                        9.6.1.1.       the preparation, negotiation and execution of the Loan Documents, whether or not
 executed;

                      9.6.1.2.     the administration and enforcement of the Loan Documents, any amendments,
 extensions and renewals thereof, and any other documents prepared in connection with any transactions between
 Borrower and Lender, whether or not executed;

                         9.6.1.3.      any expenses incurred by Lender (whether or not for the benefit of Borrower)
 under this Agreement, including, without limitation, all expenses for postage relating to the mailing of statements,
 invoices, and verifications, and all expenses relating to any portion of the Collateral;

                        9.6.1.4.       the protection of Lender’s rights under the Loan Documents;

                      9.6.1.5.       defending against any and all claims against Lender relating to any of its acts of
 commission or omission directly or indirectly relating to the Loan Documents or in any way arising out of or in
 connection with any federal or state Insolvency proceeding commenced by or against Borrower, including those (i)

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 arising out the automatic stay, (ii) seeking dismissal or conversion of the Insolvency Proceeding, (iii) opposing
 confirmation of Borrower’s plan thereunder, and (iv) expenses incurred in enforcing or defending Lender’s claims
 against Borrower or the Collateral, defending any avoidance actions, and expenses related to the administration of
 said proceeding;

                         9.6.1.6.     the actual amount of all costs and expenses, including attorneys’ fees, which
 Lender may incur in connection with appraisals, inspections and verifications of Lender’s books and records and
 Collateral, including travel, lodging and other out-of-pocket expenses for inspections;

                        9.6.1.7.     the actual amount of all costs and expenses, including attorneys’ fees, which
 Lender may incur in connection with forwarding Advances and collections pursuant to this Agreement, collecting
 checks, credit card payments and other items of payment related to Eligible Inventory and the Collateral, if applicable,
 establishing and maintaining payment accounts and lock boxes;

                      9.6.1.8.    the actual amount of all costs and expenses, including attorneys’ fees, which
 Lender may incur from usage of Borrower’s on-line computer and electronic data transmission services;

                       9.6.1.9.      the actual amount of all costs and expenses, including attorneys’ fees, which
 Lender may incur as a result of any special or additional reports or statements prepared by Lender or by Borrower for
 Lender;

                         9.6.1.10.     the actual amount of all costs and expenses, including attorneys’ fees, which
 Lender may incur in connection with any claim, suit, litigation, prosecution or defense of any civil or criminal
 proceeding or litigation with any Account Debtor or any other Person related to the Loan, the Loan Documents, any
 Collateral or the rights of any other creditor of Borrower.

                    9.6.2.       Tax Indemnification. Borrower will indemnify and save Lender and Lender’s
  Representatives harmless from any and all liability with respect to any stamp or other taxes (other than income taxes)
  which may be determined to be payable in connection with the execution of the Loan Documents or any action of
  Lender or Lender’s Representatives with respect to the Collateral, including, without limitation, the transfer of the
  Collateral to Lender’s name or that of Lender’s nominee or any purchaser at a foreclosure sale.

          9.7      Enforcement of Judgments. Borrower will reimburse Lender for all costs and expenses, including
 attorneys’ fees, which Lender incurs in obtaining and/or enforcing any judgment rendered in connection with this
 Agreement. This provision is severable from all other provisions hereof and shall survive, and not be deemed merged
 into, such judgment.

          9.8       Taxes and Expenses Regarding Borrower’s Assets.

                    9.8.1.      Borrower shall make timely payment or deposit of all taxes, assessments or
  contributions required of Borrower. If Borrower fails to make any payment or deposit or furnish proof of that
  payment immediately upon Lender’s request, Lender may, in its sole discretion and without obligation to do so or to
  provide notice to Borrower:

                         9.8.1.1.    make payment of the same or any part thereof; or

                          9.8.1.2.   set up reserves against the Obligations as Lender deems necessary to satisfy the
 liability therefore, or both.

                    9.8.2.       Lender may conclusively rely on statements of the amount owing or other official
  statements issued by the appropriate Governmental Authority. Any payment made by Lender shall constitute neither:

                         9.8.2.1.    an agreement by Lender to make similar payments in the future; nor



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                         9.8.2.2.       a waiver by Lender of any default under the Loan Documents. Lender need not
 inquire into, nor contest the validity of, any expense, tax, security interest, encumbrance or lien, and the receipt of the
 usual official notice requiring the payment thereof shall be conclusive evidence that the same was validly due and
 owing.

                   9.8.3.       Any payment made by the Lender pursuant to this Section 9.8 shall be treated as an
  additional Advance to the Borrower and shall bear interest at the Default Rate.

           9.9      Maintenance of Insurance. Borrower shall assume the risk of loss of any Collateral and Lender
 shall have no responsibility concerning the Collateral except to the extent Lender has obtained possession of that
 Collateral. The Borrower will maintain with financially sound and reputable insurers insurance with respect to its
 properties and business against casualties and contingencies as shall be in accordance with general practices of
 businesses engaged in similar activities in similar geographic areas. All insurance shall be in minimum amounts that
 the Borrower will not be deemed a co-insurer under applicable insurance laws, regulations, and policies and otherwise
 shall be in amounts, contain terms, be in forms and be for periods as may be reasonably satisfactory to the Lender. In
 addition, all insurance shall be payable to the Lender under a Lender Loss Payable Endorsement. Without limiting
 the foregoing, the Borrower will:

                   9.9.1.        Keep all of its physical property, including without limitation, all of its Inventory,
  insured with casualty or physical hazard insurance on an “all risks” basis, with broad form flood and earthquake
  coverage and electronic data processing coverage, with a full replacement cost endorsement and an “agreed amount”
  clause in an amount equal to 100% of the full replacement cost of that property;

                     9.9.2.        Maintain all workers’ compensation or similar insurance as may be required by law;

                     9.9.3.      Maintain, in amounts and with deductibles equal to those generally maintained by
  businesses engaged in similar activities in similar geographic areas, general public liability insurance against claims
  of bodily injury, death, or property damage occurring, on, in or about the properties of the Borrower; business
  interruption insurance; and product liability insurance.

          9.10      Compliance with Laws. Borrower will cause the Transaction Documents, and all actions and
 transactions by Borrower in connection therewith to comply with the requirements of all Applicable Laws. Borrower
 shall within five (5) Business Days notify Lender in writing of any violation of any Applicable Laws, statute,
 regulation or ordinance of any governmental entity, or any agency thereof, applicable to Borrower which may
 adversely affect any of the Collateral or Borrower’s operations.

           9.11      Existence. Borrower will at all times preserve and keep in full force and effect Borrower’s and its
 Affiliates’ valid existence and good standing and any rights and franchises material to Borrower’s or its Affiliates’
 businesses.

           9.12       Environmental. Borrower shall (a) keep any property either owned or operated by Borrower or
 its Affiliates free of any environmental Liens or post bonds or other financial assurances sufficient to satisfy the
 obligations or liability evidenced by any environmental Liens, (b) comply with environmental laws and provide to
 Lender documentation of that compliance which Lender reasonably requests, (c) promptly notify Lender of any release
 of a hazardous material in any reportable quantity from or onto property owned or operated by Borrower or its
 Affiliates and take any remedial actions required to abate said release or otherwise to come into compliance with
 applicable environmental law, and (d) promptly provide Lender with written notice within ten (10) days of the receipt
 of any of the following: (i) notice that an environmental Lien has been filed against any of the real or personal property
 of Borrower or its Affiliates, (ii) commencement of any environmental action or notice that an environmental action
 may be filed against Borrower or its Affiliates, and (iii) notice of a violation, citation, or other administrative order
 which relates to any applicable environmental law.

          9.13      Disclosure Updates. Promptly and in no event later than five (5) Business Days after obtaining
 knowledge thereof, notify Lender if any written information, exhibit, or report furnished to Lender contained any
 untrue statement of a material fact or omitted to state any material fact necessary to make the statements contained
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 therein not misleading in light of the circumstances in which made. The foregoing to the contrary notwithstanding,
 any notification pursuant to the foregoing provision will not cure or remedy the effect of the prior untrue statement of
 a material fact or omission of any material fact nor shall any such notification have the effect of amending or modifying
 this Agreement or any of the Schedules hereto.

          9.14        Due Diligence. Cooperate fully with Lender in connection with Lender’s due diligence, from time
 to time, with respect to property proposed by Borrower as Collateral. Lender shall be entitled to procure appraisals,
 brokers’ price opinions, lien search reports, tax filing reports, title reports, evaluations or other reports, certifications
 or information as it may require in connection with its evaluation or reevaluation of any Collateral.

           9.15      Relationship with Customers and Obligors. Borrower shall obtain credit reports with respect
 to all Account Debtors of all customers and Obligors in accordance with Borrower’s required procedures, as disclosed
 to and approved by Lender. Upon Lender’s reasonable request, Borrower shall make available to Lender as soon as
 available, copies of all write ups, credit reports, term sheets, and other information pertaining to Borrower’s
 transactions with existing or prospective customers and Obligors, in each case as prepared or obtained in accordance
 with Borrower’s required procedures, as disclosed to and approved by Lender. Borrower shall promptly notify Lender
 of (a) any material default, Incipient Default or material event of default under the Transaction Documents, (b) any
 other default or event of default under the Transaction Documents which continues uncured or for which a waiver has
 not been granted by Borrower with respect thereto, for a period of sixty (60) days following Borrower’s obtaining
 knowledge thereof, and (c) the occurrence of any other event which may impair the prospect of payment of any
 Eligible Account.

         9.16         Use of Advances. Borrower shall use the proceeds from Advances only for its working capital
 purposes and not for any personal, family, household, consumer or agricultural purposes.

     10.      Representations and Warranties of Borrower. To induce Lender to enter into this Agreement, and the
other Loan Documents, Borrower represents, warrants and covenants as follows (it being understood that (i) each such
representation and warranty will be deemed made as of the date hereof and shall not be affected by any knowledge of,
or any investigation by, Lender, and (ii) the accuracy of each representation, warranty and covenant will be a condition
to the Credit Accommodations and the other Loan Documents):

           10.1       Existence and Authority. Borrower is duly organized, validly existing and in good standing
 under the laws of the jurisdiction of its organization or formation. Borrower is and will continue to be qualified and
 licensed to do business in all jurisdictions in which the nature of its operations makes that qualification necessary or
 appropriate to enable it to enforce its rights against any Account Debtor and the Collateral. The execution, delivery
 and performance by Borrower of this Agreement and the other Loan Documents have been duly and validly
 authorized, do not violate Borrower’s Organizational Documents, or any law or any agreement or instrument or any
 court order which is binding upon Borrower or its property, do not constitute grounds for acceleration of any
 indebtedness or obligation under any agreement or instrument which is binding upon Borrower or its property, and do
 not require the consent of any Person. This Agreement and the other Loan Documents have been duly executed and
 delivered by, and are enforceable against, Borrower, and all other Obligors who have signed them, in accordance with
 their respective terms.

           10.2       Name; Trade Names and Styles. The name of Borrower set forth in the heading to this
 Agreement is its correct and complete legal name as of the date hereof. Borrower shall give Lender at least thirty (30)
 days’ prior written notice before changing its name or doing business under any other name. Borrower has complied
 with all laws relating to the conduct of business under a fictitious business name. Set forth in Schedule 10.2, is each
 prior true name of Borrower and each fictitious name, trade name and trade style by which Borrower has been, or is
 now known, or has previously transacted, or now transacts business.

          10.3        Binding Agreements. This Agreement and the other Loan Documents executed and/or delivered
 in connection herewith or therewith, when issued and delivered pursuant hereto for value received shall constitute the
 valid and legally binding obligations of the Borrower and each Guarantor or other Obligor, enforceable in accordance
 with their respective terms, except as enforcement may be limited by principles of equity, bankruptcy, Insolvency, or
 other laws affecting the enforcement of creditors’ rights generally.

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           10.4        No Conflicting Laws or Agreements. The execution, delivery and performance by Borrower of
 this Agreement, the Note, and the other Loan Documents: (i) does not violate any provision of the Organizational
 Documents of Borrower, (ii) does not violate any order, decree or judgment, or any provision of any statute, rule or
 regulation, (iii) does not violate or conflict with, result in a breach of or constitute (with notice, or lapse of time, or
 both) a default under any shareholder agreement, stock preference agreement, mortgage, indenture or other contract
 or undertaking to which the Borrower is a party, or by which any of its properties is bound, and (iv) does not result in
 the creation or imposition of any lien, charge or encumbrance of any nature whatsoever upon any property or assets
 of the Borrower, except for the liens granted hereunder to the Lender. The foregoing representations and warranties
 are also true and applicable to all other Obligors.

          10.5       INTENTIONALLY DELETED

          10.6       Inventory.

                     10.6.1.       All the Inventory of Borrower is used or held for use in their business and is fit for
  those purposes.

                     10.6.2.       INTENTIONALLY DELETED

                    10.6.3.        All of the Inventory of Borrower is listed on Schedule 10.6.2, which schedule will
  list which Inventory is Eligible Inventory and which is not Eligible Inventory, together with the reasons why it is not
  eligible.

           10.7        Place of Business; Location of Collateral. Borrower’s address is Borrower’s chief executive
 office, and it is the location of its books and records. Borrower will give Lender at least thirty (30) days’ prior written
 notice before or changing its chief executive office or the location of its books and records to a location other than
 Borrower’s address, and will execute and deliver all financing statements and other agreements, instruments and
 documents which Lender shall require as a result thereof.

          10.8     Compliance with Laws. Borrower has complied in all material respects with all provisions of all
 Applicable Laws, including those relating to Borrower’s ownership of real or personal property, the conduct and
 licensing of Borrower's business, the payment and withholding of taxes, ERISA and other employee matters, safety
 and environmental matters.

          10.9    Use of Proceeds. All proceeds of the Credit Accommodations will be used solely for lawful
 business purposes.

          10.10     Litigation. INTENTIONALLY OMITTED

           10.11 Title to Collateral. Borrower has good and marketable title to the Collateral. The Collateral now
 is and will remain free and clear of any and all liens, charges, security interests, encumbrances and adverse claims,
 except for liens of the Permitted Third Party Creditor, if any. Lender now has, and will continue to have, a first-
 priority perfected and enforceable security interest in the Accounts, Inventory and all of the other Collateral, except
 that Lender may in its discretion accept a second-priority perfected and enforceable security interest in the Equipment,
 in each case subject only to the now existing liens of Permitted Third Party Creditor pursuant to the Intercreditor
 Agreement, if any, and Borrower will at all times defend Lender and the Collateral against all claims of others. None
 of the Collateral which is Equipment is or will be affixed to any real property in a manner, or with intent, as to become
 a fixture. Except for leases or subleases as to which Borrower has delivered to Lender a landlord’s waiver in form
 and substance satisfactory to Lender, Borrower is not a lessee or sublessee under any real property lease or sublease
 pursuant to which the lessor or sublessor may obtain any rights in any of the Collateral, and no lease or sublease now
 prohibits, restrains, impairs or conditions, or will prohibit, restrain, impair or condition, Borrower’s right to remove
 any Collateral from the premises. Whenever any Collateral is located upon premises in which any third party has an
 interest (whether as owner, mortgagee, beneficiary under a deed of trust, lien or otherwise), Borrower shall cause the
 third party to execute and deliver to Lender, in form and substance acceptable to Lender, waivers and subordinations
 as Lender shall specify, so as to ensure that Lender’s rights in the Collateral are, and will continue to be, superior to
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 the rights of the third party. Borrower will keep in full force and effect, and will comply with all the terms of, any
 lease of real property where any of the Collateral now or in the future may be located.

            10.12 Documents Genuine, Legal Compliance, Disposition. All statements made and all unpaid
 balances appearing in the Online Reporting Service and in all invoices, instruments and other documents evidencing
 the Accounts are and shall be true and correct. Borrower’s inclusion of Inventory in the Online Reporting Service or
 other reports to Lender accurately differentiates Eligible Inventory from all other Inventory. All invoices, instruments,
 signatures and other documents and all of Borrower’s books and records are and shall be genuine and in all respects
 what they purport to be and all signatories and endorsers have full capacity to contract. All sales and other transactions
 underlying or giving rise to each Account shall fully comply with all applicable Laws and governmental rules and
 regulations. All documents, instruments and agreements are and shall be legally enforceable in accordance with their
 terms. Borrower has not, and shall not hereafter sell, assign, pledge, encumber, forgive (completely or partially), settle
 for less than payment in full, or transfer or dispose of any Account, or agree to do any of the foregoing, except pursuant
 to established limits prescribed by Lender from time to time, which limits shall cease upon the occurrence of any
 Event of Default or Incipient Default.

           10.13 Maintenance of Collateral. Borrower has maintained and will hereafter maintain at Borrower’s
 sole cost and expense the Collateral and all of Borrower’s assets useful or necessary in the conduct of Borrower’s
 business in good working order and condition, free form defects, except Collateral sold in the ordinary course of
 business or Collateral which in the aggregate constitutes an immaterial and insignificant monetary amount. Borrower
 has not and will not use the Collateral or any of Borrower’s other properties, or any part thereof, in any unlawful
 business or for any unlawful purpose and has not and will not secrete or abandon the Collateral, those properties, or
 any part thereof. Borrower has not and will not store any of the Collateral with any bailee, warehouseman or any
 other third party without Lender’s prior written consent. Borrower will immediately advise Lender in writing of any
 event causing loss or depreciation and of any Material Adverse Change in the condition of the Collateral or of any of
 Borrower’s other properties and Schedule 10.13 lists any of those events that affect any of the Collateral on the date
 hereof.

          10.14 Books and Records. Borrower has maintained and will continue to maintain at Borrower’s Address
 complete and accurate books and records comprising a standard and modern accounting system in accordance with
 generally accepted accounting principles applied on a consistent basis that accurately and correctly record and reflect
 Borrower’s income, expenses, liabilities, operations, accounts, and ownership and location of the Collateral and any
 other asset now or hereafter belonging to Borrower. Borrower’s books and records shall itemize and describe the
 kind, type, quality and quantity of the Collateral nd shall note Lender’s security interest therein. All reserves
 (including, without limitation, reserves for bad debts, depreciation and taxes) provided for upon Borrower’s books
 and records are now, and will hereafter be, maintained in sufficient amounts in accordance with generally accepted
 accounting principles consistently applied. All books and records and all documents relating to any of the Collateral
 are and will continue to be genuine and in all respects what they purport to be and will contain information as may be
 requested by Lender.

          10.15 Financial Condition, Statements and Reports. All financial statements delivered to Lender by or
 on behalf of Borrower and any other Obligor completely and fairly reflect the financial condition of Borrower and
 that Obligor, at the times and for the periods therein stated. Between the last date covered by the financial statement
 provided to Lender and the date hereof, there has been no Material Adverse Change in the financial condition or
 business of Borrower or that Obligor. Borrower and each Obligor are solvent and, at all times hereafter, will continue
 to be solvent and able to pay their debts as they come due, and each has sufficient capital to carry on its business as
 now conducted and as proposed to be conducted. All schedules, reports and other information and documentation
 delivered by Borrower or an Obligor to Lender are, or will be, when delivered, true, correct and complete as of the
 date delivered or the date specified therein. Borrower and each Obligor have kept and will keep adequate records and
 books of account with respect to their business activities in which proper entries are made reflecting all of their
 financial transactions, and will cause to be prepared and furnished to Lender data and other information (financial and
 otherwise) as Lender, from time to time, may reasonably request, bearing upon or related to their financial condition
 or results of operations, including, but not limited to, business projections, business plans, budgets and cash flow
 statements for Borrower and the Obligor within five (5) days after Lender’s request.


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          10.16 Tax Returns. Borrower has timely filed, and will hereafter timely file, all tax returns and reports
 required by foreign, federal, state or local Law, except for year 2020 state and federal tax returns. Other than year
 2020 state and federal tax returns, Borrower has timely paid, and will hereafter timely pay, all foreign, federal, state
 and local taxes, assessments, deposits, contributions, claims, penalties, interest and other charges related thereto
 (including, but not limited to, income, franchise, personal property, real property, FICA, excise, withholding, sales
 and use taxes) now or hereafter owed by Borrower. Borrower is unaware of any claims or adjustments proposed for
 any of Borrower’s prior tax years which could result in additional taxes becoming due and payable by Borrower.

           10.17 Notification of Changes. Borrower will promptly notify Lender in writing of any change in its
 officers, directors, or managing members, as applicable, the opening of any new bank account or other deposit account,
 or any Material Adverse Change in the business or financial affairs of Borrower or other Obligor, or the existence of
 any circumstance which would make any representation or warranty of Borrower or any Obligor in any Loan
 Documents to be untrue in any material respect or constitute a material breach of any covenant of Borrower or any
 Obligor.

           10.18 Borrower Accounts. Schedule 10.18 lists all Borrower Accounts held with any financial
 institution, indicating the type of account (e.g., checking, savings, investment, payroll, tax withholding, etc.) for that
 account. Borrower has no other accounts at any other financial institution and shall not create or fund any accounts
 at any other financial institution so long as any Obligations are outstanding without Lender’s prior written consent.

           10.19 Further Assurances. Borrower agrees, at its expense, to take all actions, and execute or cause to
 be executed and delivered to Lender all agreements, instruments, documents as Lender may request from time to time,
 to fully effectuate the transactions contemplated by this Agreement and the other Loan Documents.

           10.20 Continuing Effect. All representations, warranties and covenants of Borrower contained in this
 Agreement and any other agreement with Lender shall be true and correct at the time of the effective date of that
 agreement and shall be deemed continuing and shall remain true, correct and in full force and effect until payment and
 satisfaction in full of all of the Obligations, and Borrower acknowledges that Lender is and will be expressly relying
 on all these representations, warranties and covenants in making advances to Borrower.

    11. Negative Covenants. Until full payment of the Obligations and Complete Termination of this Agreement,
Borrower will not:

          11.1      Modify Account Obligations. After written notice by Lender to Borrower, and automatically,
 without notice, after an Event of Default, Borrower shall not, without the prior written consent of Lender:

                     11.1.1.       grant any extension of time for payment of any Accounts;

                     11.1.2.       compromise or settle any Accounts for less than the full amount thereof;

                     11.1.3.       release in whole or in part any Account Debtor; or

                    11.1.4.     grant any credits, discounts, allowances, deductions, return authorizations, or the like
  with respect to any Accounts.

          11.2       Indebtedness. Without Lender’s prior written consent, create, incur, assume, suffer to exist,
 permit, guarantee, or otherwise become or remain, directly or indirectly, liable with respect to any indebtedness, except
 indebtedness evidenced by this Agreement and the other Loan Documents.

          11.3         Liens. Create, incur, assume, or permit to exist, directly or indirectly, any Lien on or with respect
 to any of its assets, of any kind, whether now owned or hereafter acquired, or any income or profits therefrom, except
 for Liens consented to in advance by Lender.

          11.4       Restrictions on Fundamental Changes.

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                   11.4.1.       Enter into any merger, consolidation, reorganization, or recapitalization, or reclassify
  its stock or membership interests.

                     11.4.2.       Liquidate, wind up, or dissolve itself (or suffer any liquidation or dissolution).

                     11.4.3.       Convey, sell, lease, license, assign, transfer, or otherwise dispose of, in one
  transaction or a series of transactions, all or any substantial part of its assets.

                     11.4.4.       Change its jurisdiction of organization.

        11.5       Disposal of Assets. Convey, sell, lease, license, assign, transfer, or otherwise dispose of any of any
 Borrower’s assets other in the ordinary course of business without Lender’s prior written consent.

           11.6     Change Name. Change Borrower’s or its Affiliates’ name, FEIN, organizational identification
 number, corporate structure, or identity, or add any new fictitious name; provided, however, that Borrower and any of
 its Affiliates may change their respective names or add any new fictitious names upon at least thirty (30) days’ prior
 written notice to Lender of the change and so long as, at the time of the written notification, Borrower or its Affiliates,
 as applicable, provides any financing statements or fixture filings necessary to perfect and continue perfected the
 Lender’s Liens.

          11.7     Nature of Business. Make any change in the principal nature of its business.

                    11.7.1.       Prepay, redeem, defease, purchase, or otherwise acquire any indebtedness of any
  Obligated Party, other than the Obligations in accordance with this Agreement, and

                  11.7.2.     Directly or indirectly, amend, modify, alter, increase, or change any of the terms or
  conditions of any agreement, instrument, document, indenture, or other writing evidencing or concerning
  indebtedness.

          11.8     Change of Control. Cause, permit, or suffer, directly or indirectly, any Change of Control.

           11.9     Distributions. Without the prior written consent of Lender, either (a) make any distribution or
 declare or pay any dividends (in cash or other property, other than common equity) on, or purchase, acquire, redeem,
 or retire any of Borrower’s or its Affiliates’ Stock, of any class, whether now or hereafter outstanding, (b) make any
 payments on subordinated debt, or (c) pay more than the required amounts on any senior or pari-passu debt obligations
 to any other creditor unless at least an equal amount of that excess payment is paid to Lender at the same time.

          11.10 Accounting Methods. Modify or change its fiscal year or its method of accounting (other than as
 may be required to conform to GAAP) or enter into, modify, or terminate any agreement currently existing, or at any
 time hereafter entered into with any third party accounting firm or service bureau for the preparation or storage of
 Borrower’s accounting records without said accounting firm or service bureau agreeing to provide Lender information
 regarding the Collateral or Borrower’s or its Affiliates’ financial condition.

          11.11 Transactions with Affiliates. Directly or indirectly enter into or permit to exist any transaction with
 any Affiliate of Borrower except for transactions that are in the ordinary course of Borrower’s business, upon fair and
 reasonable terms, that are fully disclosed to Lender, and that are no less favorable to Borrower than would be obtained
 in an arm’s length transaction with a non-Affiliate.

          11.12    Suspension.     Suspend or go out of a substantial portion of its business.

          11.13    Use of Proceeds. Use the proceeds of the Advances for any purpose other than (a) to pay

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 transactional fees, costs, and expenses incurred in connection with this Agreement, the other Loan Documents, and
 (b) for working capital and general corporate purposes, each consistent with the terms and conditions hereof, for its
 lawful and permitted purposes, and (c) to pay off certain subordinated debt with Lender’s prior written consent and
 subject to the limitations set forth herein.

           11.14 Change in Location of Chief Executive Office; Equipment or Inventory with Bailees. Relocate
 its chief executive office, its books and records, or a substantial portion of any other Collateral to a new location
 without providing thirty (30) days’ prior written notification thereof to Lender and so long as, at the time of the written
 notification, Borrower or the applicable Affiliate provides any financing statements or fixture filings necessary to
 perfect and continue perfected the Lender’s Liens and also provides to Lender a Collateral Access Agreement with
 respect to the new location in form acceptable to Lender in its discretion. The Equipment and Inventory shall not at
 any time now or hereafter be stored with a bailee, warehouseman, or similar party without Lender’s prior written
 consent.
           11.15 INTENTIONALLY DELETED


    12. Events of Default. Each of the following events or conditions shall constitute an “Event of Default”:

          12.1      Borrower defaults in the payment of any Obligations when due, whether at maturity, upon
 acceleration, or otherwise;

        12.2     Borrower is in default with respect to the Loan Documents or any other now existing or future
 agreements between Borrower and Lender;

          12.3     The Obligations at any time exceed the Allowable Amount;

           12.4     An adverse change occurs with respect to the financial condition or operations of Borrower which
 results in a material impairment of the prospect of repayment of the Obligations;

           12.5     This Agreement or any other Loan Document that purports to create a Lien, shall, for any reason,
 fail or cease to create a valid and perfected and, except to the extent permitted by the terms hereof or thereof, first
 priority Lien on or security interest in the Collateral covered hereby or thereby;

          12.6    Borrower or any of its Affiliates defaults pursuant to any agreement between any of them and Lender
 or any Lender Affiliate, whether pursuant to any other financing arrangements or otherwise;

          12.7     A Change of Control of Borrower or any other Obligor occurs;

          12.8     INTENTIONALLY DELETED

           12.9     Any Obligor (i) dies, becomes disabled, dissolves or otherwise ceases functioning as a going
 concern in the ordinary course of business, (ii) defaults in the performance of its obligations to Lender, regardless of
 whether the default arises out of a Guaranty or out of any other agreement between the Obligor and Lender, (iii)
 notifies Lender of its intention to rescind, modify, terminate or revoke the Guaranty or other agreement with respect
 to future transactions, or (iv) the Guaranty shall cease to be in full force and effect for any reason whatever, or it
 defaults on its obligations owed to any other creditor;

          12.10 Permitted Third Party Creditor fails to perform or observe any of its Permitted Third Party Creditor’s
 obligations under the Intercreditor Agreement, or notifies Lender of the Permitted Third Party Creditor’s intention to
 do so.

          12.11    A federal or state tax lien is filed against any of Borrower’s assets;

          12.12    Any material portion of Borrower’s or any Obligor’s assets is attached, seized, subjected to a writ

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 or distress warrant, levied upon, or becomes subject to any judgment or comes into the possession of any third Person;

          12.13 Borrower or any Obligor is enjoined, restrained, or in any way prevented by court order from
 continuing to conduct all or any material part of its business affairs, and the court order is not dissolved within five
 (5) Business Days;

           12.14 If a notice of Lien, levy, or assessment with respect to any of Borrower’s or any Obligor’s assets is
 filed of record with a Governmental Authority;

           12.15 If there is a default in any material agreement to which Borrower or any Obligor is a party, provided
 that no default shall constitute an “Event of Default” hereunder if (i) Borrower has notified the Lender that it is
 disputing the existence of the default in good faith and (ii) the Lender determines in its sole discretion that (A) the
 dispute is in fact in good faith and (B) there has been no material adverse impact in the ability of Borrower to perform
 its obligations under the Loan Documents;

          12.16 If Borrower or any Obligor makes any payment on account of indebtedness that has been
 contractually subordinated in right of payment to the payment of the Obligations without Lender’s express prior
 written approval;

          12.17 If any material misstatement or misrepresentation exists now or hereafter in any warranty,
 representation, statement, or record made to Lender by Borrower, or its Affiliates, or any officer, employee, agent, or
 director of Borrower or any of its Affiliates;

           12.18 Any Key Employee fails to devote substantially all of his or her efforts in furtherance of the business
 affairs of Borrower or Obligor, as applicable, other than during reasonable vacation periods, or ceases to be employed
 by Borrower or the Obligor in the capacity that the employee held as of the date of this Agreement;

         12.19 Any provision of this Agreement or any of the Loan Documents ceases, for any reason, to be valid
 and binding on Borrower;

          12.20 Borrower delivers any document, financial statement, schedule or report to Lender which is false or
 incorrect in any material respect;

          12.21    Lender, at any time, acting in good faith and in a commercially reasonable manner, deems itself
 insecure;

          12.22 Borrower voluntarily suspends the transaction of business or allows to be suspended, terminated,
 revoked or expired any permit, license or approval of any governmental body necessary to conduct the Borrower’s
 business as now conducted; or

           12.23 Any injury or damage to a material part of the collateral or a material part of the Collateral shall be
 lost, stolen or destroyed, regardless of the presence of insurance to cover that loss.

    13. Remedies.

          13.1     Upon the occurrence of any Event of Default at Lender’s option:

                    13.1.1.       Lender may declare this Agreement and all of Lender’s obligations hereunder
  terminated, but without affecting any of Lender’s Liens on the Collateral and without affecting the Obligations;

                  13.1.2.        Lender may declare all Obligations to be immediately due and payable, without
  presentment, demand, protest, or notice of any kind, all of which are hereby expressly waived by Borrower;

                    13.1.3.       all Obligations shall accrue interest at the Default Rate; and


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                     13.1.4.     Lender may, immediately and without expiration of any period of grace, enforce
  payment of all Obligations and exercise any and all other remedies granted to it under the Loan Documents, at law,
  in equity, or otherwise.

                   13.1.5.      Lender may have a receiver appointed as a matter of right. The receiver may be an
  employee for or counsel to Lender. The receiver may serve without a bond, and all fees and expenses of the receiver
  shall become part of the Obligations, accruing interest at the Default Rate until paid in full. The receiver may be
  appointed by the court upon ex parte application and without notice to Borrower and any other Obligor, that notice
  being hereby waived.

                     13.1.6.       Lender, if it seeks to exercise its rights and remedies with respect to an Event of
  Default, shall provide written notice (“Written Notice”) to Borrower, Borrower’s bankruptcy counsel in the
  Bankruptcy Case, the United States Trustee, and counsel for any Official Committee appointed in the Bankruptcy
  Case. Any party shall have five (5) calendar days from the receipt of Written Notice in which to cure the default or
  file a controverting affidavit with respect to the Event of Default. If the Event of Default is not cured within such
  five (5) day period, Lender may file an emergency motion in the Bankruptcy Case seeking relief from the automatic
  stay of 11 U.S.C. § 362 to commence and exercise its available rights and remedies. Borrower hereby consents to the
  Bankruptcy Court setting an emergency hearing on the emergency motion as soon as the court’s calendar will permit
  and agrees that it will have one (1) business day following the filing of any emergency motion to file an objection or
  other response.

       13.2  BORROWER WAIVES ANY REQUIREMENT THAT LENDER INFORM BORROWER
 BY AFFIRMATIVE ACT OR OTHERWISE OF ANY ACCELERATION OF BORROWER’S
 OBLIGATIONS HEREUNDER. FURTHER, LENDER’S FAILURE TO CHARGE OR ACCRUE INTEREST
 OR FEES AT ANY “DEFAULT” OR “PAST DUE” RATE SHALL NOT BE DEEMED A WAIVER BY
 LENDER OF ITS CLAIM THERETO.

           13.3     Lender shall have all other remedies permitted it pursuant to law, equity or otherwise, regardless of
 whether an Event of Default or Incipient Default has occurred. Lender may exercise setoff rights against any amounts
 it owes to Borrower or any Obligor pursuant to any Loan Document. No Borrower or Obligor shall have or exercise
 setoff rights against Lender or any other Lender Party without Lender’s express prior written consent.

          13.4    Borrower shall pay Lender any deficiencies remaining after disposition of any Collateral, but
 Borrower shall not be permitted to delay payment of any Obligations owed to Lender pending disposition of any
 Collateral.

    14. Standards for Exercising Remedies.

        14.1      To the extent that Applicable Law imposes duties on the Lender to exercise remedies in a
 commercially reasonable manner, the Borrower acknowledges and agrees that:

                   14.1.1.      Lender’s exercise of its standard practices in connection with the Collateral shall be
  presumed to be commercially reasonable,

                    14.1.2.       notice to Borrower of any action (other than acceleration of the Termination Date,
  which shall require no notice) on at least ten (10) days’ notice shall be commercially reasonable, and

                    14.1.3.       it is commercially reasonable for the Lender:

                       14.1.3.1.    to incur expenses for the account of Borrower to prepare Collateral for disposition
 or otherwise to complete raw material or work in process into finished goods or other finished products for disposition;

                    14.1.3.2.     to obtain third party consents for access to Collateral to be disposed of, or to obtain
 Governmental Authority or third Person consents for the collection or disposition of Collateral to be collected or
 disposed of;
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                       14.1.3.3.     to exercise collection remedies against Account Debtors or other Persons
 obligated on Collateral or to remove liens or encumbrances on or any adverse claims against Collateral;

                       14.1.3.4.       to exercise collection remedies against Account Debtors and other Persons
 obligated on Collateral directly or through the use of collection agencies and other collection specialists;

                        14.1.3.5.     to advertise dispositions of Collateral through publications or media of general
 circulation, whether or not the Collateral is of a specialized nature;

                        14.1.3.6.     to hire one or more professional auctioneers to assist in the disposition of
 Collateral, whether or not the collateral is of a specialized nature;

                       14.1.3.7.     to dispose of Collateral by using Internet sites that provide for the auction of assets
 of the types included in the Collateral or that have the reasonable capability of doing so, or that match buyers and
 sellers of assets;

                        14.1.3.8.     to dispose of assets in wholesale rather than retail markets;

                        14.1.3.9.     to disclaim all disposition warranties; and

                        14.1.3.10. to purchase insurance or credit enhancements to insure the Lender against risks of
 loss, collection or disposition of Collateral or to provide to the Lender a guaranteed return from the collection or
 disposition of Collateral, and

 provided further, that nothing in this Agreement shall impose any duty of Lender to do any of the foregoing.

           14.2    The Borrower acknowledges that the purpose of this Section 14 is to provide non-exhaustive
 indications of what actions or omissions by the Lender would not be commercially unreasonable in the Lender’s
 exercise of remedies against the Collateral and that other actions or omissions by the Lender shall not be deemed
 commercially unreasonable solely on account of not being indicated in this Section. Without limitation upon the
 foregoing, nothing contained herein shall be construed to grant any rights to the Borrower or to impose any duties on
 the Lender that would not have been granted or imposed by this Agreement or by Applicable Law in the absence of
 this Section 14.

     15. Proceeds and Expenses of Dispositions. The Borrower shall pay to the Lender on demand any and all
expenses, including attorneys’ fees and disbursements, incurred or paid by the Lender in protecting, preserving, or
enforcing the Lender’s rights under or in respect of any of the Obligations or any of the Collateral. After deducting all
of said expenses, the residue of any proceeds of collection or sale of the Obligations or Collateral shall, to the extent
actually received in cash, be applied to the payment of the Obligations as provided in this Agreement, notwithstanding
contrary instructions received by Lender from the Borrower or any other third party.

    16. Liquidation Success Premium. If Borrower shall substantially cease operating as a going concern, and the
proceeds of Collateral created after that event are in excess of the Obligations at the time of Default, Borrower shall
pay to Lender a liquidation success premium of ten (10%) percent of the amount of the excess.

    17. Term and Termination.

           17.1      This Agreement shall become effective upon the execution and delivery hereof by Borrower and
 Lender, shall continue in full force and effect for one year from the date hereof, and shall be automatically renewed
 for successive Renewal Periods unless either Borrower or Lender provides written notice to the other that it does not
 intend to renew this Agreement, such notice to be provided by Borrower at least sixty (60) days, or by Lender at least
 thirty (30) days, prior to either (A) the Anniversary Date, or (B) the Renewal Termination Date of the Renewal Period
 then in effect, as applicable.



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        17.2       Upon the Termination Date, the unpaid balance of the Obligations shall be due and payable without
 demand or notice.

    18. Exposed Payments.

         18.1 Upon termination of this Agreement, Borrower shall pay to Lender (or Lender may retain), to hold in a
 non-segregated non-interest bearing account the amount of all Exposed Payments (the “Preference Reserve”).

          18.2 Lender may charge the Preference Reserve with the amount of any Exposed Payments that Lender pays
 to the bankruptcy estate of the Account Debtor that made the Exposed Payment, on account of a claim asserted under
 Section 547 of the Bankruptcy Code.

          18.3 Lender apply to outstanding Obligations or if none, shall refund to Borrower from time to time that
 balance of the Preference Reserve for which a claim under Section 547 of the Bankruptcy Code can no longer be
 asserted due to the passage of the statute of limitations, settlement with the bankruptcy estate of the Payor or otherwise.

    19. Avoidance Claims.

                     19.1.1.     Borrower shall indemnify Lender from any loss or other Obligations arising out of
  the assertion of any Avoidance Claim.

                     19.1.2.      Borrower shall notify Lender within two (2) Business Days of it becoming aware of
  the assertion or threatened assertion of an Avoidance Claim.

    20. Revocation of Borrower’s Right to Sell Inventory Free and Clear of Lender’s Security Interest. Lender
may, upon the occurrence of an Event of Default or Incipient Default, revoke Borrower’s right to sell Inventory free
and clear of Lender’s security interest therein.

     21. No Lien Termination without Full Satisfaction of the Obligations. In recognition of Lender’s right to have
all its attorneys’ fees and other expenses incurred in connection with this Agreement secured by the Collateral,
notwithstanding payment in full of all Obligations by Borrower, Lender shall not be required to record any terminations
or satisfactions of any of its liens on the Collateral unless and until unless and until Complete Termination has occurred.
Borrower understands that this provision constitutes a waiver of its rights under §9-513(c) of the UCC.

    22. Online User Standards.

           22.1 Lender shall use reasonable efforts to post all of Borrower’s account activity on Lender’s website, which
 shall constitute Borrower’s Online Statement of Account. Lender need not send Borrower any hard copies of any
 activities which constitute Borrower’s Online Statement of Account. Provided that there is no Event of Default or
 Incipient Default, Lender shall provide Borrower with reasonably continuous access to view the Online Statement of
 Account, subject to periodic or occasional maintenance or outages or due to communication or other situations beyond
 Lender’s control. Borrower shall be solely responsible for checking its Online Statement of Account. If Borrower
 disputes any entry on the Online Statement of Account, it shall, within thirty (30) days after the first posting of the
 event, send to Lender a written exception to that event. Unless Lender receives a timely written exception to the
 activity posted to the Online Statement of Account, within thirty (30) days after it is first posted, the Online Statement
 of Account shall become an account stated and be deemed accepted by Borrower and shall be conclusive and binding
 upon the Borrower. Lender shall have no liability for errors in the information posted in the Online Statement of
 Account so long as those errors are not due to Lender’s intentional misconduct.

          22.2 Online Conducting of Business. Lender and Borrower intend to conduct business contemplated by this
 Agreement through the internet and through Lender’s Online Reporting Service. Lender is the sole and exclusive
 owner of the Online Reporting Service. Borrower hereby accepts a non-exclusive, non-transferable, terminable right
 to access the Online Reporting Service, upon the terms and subject to the conditions contained herein.

          22.3 Standards Regarding Conducting Business Online. Borrower and Lender agree as follows:
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                   22.3.1.      Lender shall have the right to terminate or limit Borrower’s access to the Online
  Reporting Service upon the occurrence of an Event of Default or at any other time within Lender’s discretion.

                      22.3.2.      Borrower shall not: (i) copy the Online Reporting Service nor otherwise reproduce
  the same other than for normal system operation backup; (ii) translate, adapt, vary, or modify the Online Reporting
  Service; or (iii) disassemble, decompile or reverse engineer the Online Reporting Service.

                      22.3.3.       Lender shall not be liable to Borrower for any loss or damage whatsoever or
  howsoever caused, whether caused by tort (including negligence), breach of contract, or otherwise arising directly or
  indirectly in connection with the use of the Online Reporting Service, including for any inability of Borrower to
  obtain access to the on-line system or for unauthorized access to that system by others. Borrower hereby waives any
  legal rights it has with respect to the foregoing rights and to its data privacy to the fullest extent permitted by Law.

                    22.3.4.        Borrower acknowledges that any and all of the copyright, trademarks, trade names,
  patents and other intellectual property rights subsisting in or used in connection with the Online Reporting Service,
  including all documentation and manuals relating thereto, and all modifications, improvements and additions thereto,
  are, and shall remain, the sole property of the Lender. Borrower shall not, during or at any time after the expiry or
  termination of its use of the Online Reporting Service, in any way question or dispute the ownership by Lender
  thereof.

                   22.3.5.        To the extent permitted by applicable Law, Lender excludes all warranties with
  respect to the Online Reporting Service, either express or implied, including, but not limited to, any implied
  warranties of merchantability, satisfactory quality or fitness for any particular purpose.

                  22.3.6.       Borrower is solely responsible for virus scanning the Online Reporting Service, and
  Lender makes no representations or warranties regarding any virus associated with the Online Reporting Services.

                    22.3.7.       All information, data, drawings, specifications, documentation, software listings,
  source or object code which Lender may have imparted and may from time to time impart to the Borrower relating
  to the Online Reporting Service is proprietary and confidential. Borrower hereby agrees that it shall use the same
  solely in accordance with the provisions of this Agreement and that it shall not, at any time during or after expiry or
  termination of this Agreement, disclose the same, whether directly or indirectly, to any third party or use it in
  connection with any purpose other than the Transactions.

                    22.3.8.       Borrower shall be responsible for restricting access to passwords and systems relating
  to the Online Reporting Service and shall only provide passwords and access to the Online Reporting System to those
  individuals on an as needed basis. Upon learning of any breach of security or suspected breach of security to the
  Online Reporting System, Borrower shall report the incident immediately to Lender. Borrower agrees to implement
  and follow authentication procedures and protocols requested by Lender. Borrower shall be solely responsible for
  safeguarding the confidentiality of its authentication codes and passwords, and Borrower assumes all responsibility
  for any transactions undertaken in Borrower’s name through the use of those authentication codes, passwords or
  using Borrower’s electronic signature. Lender shall have no duty to verify or authenticate that the person(s) using
  Borrower’s systems are authorized to act on behalf of Borrower.

                     22.3.9.      Borrower assumes all risk of loss of or inability to access its data. Borrower shall
  keep copies of all invoices, reports and other materials furnished to Lender, and Lender shall have no responsibility
  to return or provide copies thereof to Borrower.

          22.4 Online Access. Upon an Event of Default, all of Borrower’s rights and access to any online internet
 services that Lender makes available to Borrower shall be provisional pending Borrower’s curing of all such Events
 of Default and Lender may elect to terminate Borrower’s online access as provided for herein. During that period of
 time, Lender may limit or terminate Borrower’s access to online services. Borrower acknowledges that the
 information Lender makes available to Borrower through online internet access, both before and after an Event of
 Default, constitutes and satisfies any duty to respond to a request for accounting or request regarding a statement of
 account that is referenced in the UCC.
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     23. Retention of Records. Lender shall retain any documents, schedules, invoices or other papers delivered by
Borrower only for such period as Lender, at its sole discretion, may determine necessary, after which time Lender may
destroy such records without notice to or consent from Borrower.

    24. Notices to Third Parties. Lender shall have the right at any time to give any Guarantor, Obligor, Permitted
Third Party Creditor or any other interested Person notice of any fact or event relating to this Agreement, as Lender
may deem necessary or desirable in Lender’s sole discretion, including, without limitation, Borrower’s financial
condition. Borrower shall provide to each Guarantor, Obligor, and Permitted Third Party Creditor or Person a copy of
each notice, statement or report required to be given to Lender under any of the paragraphs of this section.

     25. Information to Participants. Lender may furnish any financial or other information concerning Borrower,
or any of its Affiliates, heretofore or hereafter provided by Borrower to Lender, pursuant to this Agreement or
otherwise, to any prospective or actual purchaser of any participation or other interest in any loans made by Lender to
Borrower (whether under this Agreement or otherwise), or to any prospective purchaser of any securities issued or to
be issued by Lender.

     26. Entire Agreement. This Agreement supersedes all other agreements and understandings between the parties
hereto, verbal or written, express or implied, relating to the subject matter hereof. No promises of any kind have been
made by Lender or any third party to induce Borrower to execute this Agreement. No course of dealing, course of
performance or trade usage, and no parole evidence of any nature, shall be used to supplement or modify any terms of
this Agreement.

    27. Miscellaneous.

          27.1       Notices.

                     27.1.1.        All notices required to be given to either party hereunder shall be deemed given upon
  the first to occur of: (a) three (3) business days after deposit thereof in a receptacle under the control of the United
  States Postal Service; (b) upon transmittal by electronic means to a receiver under the control of the party to whom
  notice is being given if provided before 5:00 p.m., local time of the recipient on a Business Day, or if thereafter on
  the next Business Day; or (c) upon the delivery to the party to whom notice is being given, or an employee or agent
  of thereof, or upon the attempted delivery thereof if the recipient does not make itself available during business hours
  to receive the delivery. For purposes hereof, the addresses of the parties are as set forth below or as may otherwise
  be specified from time to time in a writing sent by one party to the other in accordance with the provisions hereof:

                                                          BORROWER

          Address:                    190 S. McQueen Road
                                      Gilbert, Arizona 85233 USA
          Attention:                  Yarron Bendor
          Email Address:              YBendor@gpmicompany.com
          Telephone:                  623-688-1906

                                                            LENDER

          Address:                    4530 E. Shea Blvd., Suite 170
                                      Phoenix, AZ 85028
          Attention:                  Robyn Barrett
          Email Address:              robyn@fswfunding.com
          Telephone:                  602-535-5984

          27.2      Survival. All representations, warranties and agreements herein contained shall be effective so long
 as any portion of this Agreement remains executory.

          27.3       Amendment and Waiver. Neither this Agreement nor any provisions hereof may be changed,
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 waived, discharged or terminated, nor may any consent to the departure from the terms hereof be given, orally (even
 if supported by new consideration), but only by an instrument in writing signed by all parties to this Agreement. Any
 waiver or consent so given shall be effective only in the specific instance and for the specific purpose for which given.

          27.4      No Waiver. No failure to exercise and no delay in exercising any right, power, or remedy hereunder
 shall impair any right, power, or remedy which Lender may have, nor shall any delay be construed to be a waiver of
 any of those rights, powers, or remedies, or any acquiescence in any breach or default hereunder; nor shall any waiver
 by Lender of any breach or default by Borrower hereunder be deemed a waiver of any default or breach subsequently
 occurring. All rights and remedies granted to Lender hereunder shall remain in full force and effect notwithstanding
 any single or partial exercise of, or any discontinuance of action begun to enforce, the right or remedy. The rights and
 remedies specified herein are cumulative and not exclusive of each other or of any rights or remedies that Lender
 would otherwise have. Any waiver, permit, consent or approval by Lender of any breach or default hereunder must
 be in writing and shall be effective only to the extent set forth in the writing and only as to that specific instance.

          27.5    Choice of Law. This Agreement and all transactions contemplated hereunder and/or evidenced
 hereby shall be governed by, construed under, and enforced in accordance with the internal laws of the State of
 Arizona, excluding its choice of law principles.

           27.6     Waiver of Statute of Limitations. Borrower waives the pleading of any statute of limitations with
 respect to any and all actions in connection herewith. To the extent that Borrower may now or in the future have any
 claim against Lender, arising out of this agreement or the transactions contemplated herein whether in contract or tort
 or otherwise, Borrower must assert the claim within one year of it accruing, regardless of the lack of actual knowledge
 by Borrower of the potential claim. Failure to assert a claim within one year shall constitute of waiver thereof.
 Borrower agrees that this period is reasonable and sufficient for it to investigate and act upon the claim. This Section
 shall survive any termination of this agreement. A copy of the waiver may be filed as a written consent in any judicial
 proceeding.

           27.7     Indemnity. Borrower shall indemnify, defend and hold the Lender Parties harmless from and
 against any and all losses of any kind or nature which any of the Lender or any Lender Party may sustain or incur in
 connection with, or arising from, this Agreement, any other present or future agreement, or the breach by Borrower
 of any representation, warranty, covenant or provision contained herein or therein, the transactions or any other
 transactions contemplated hereby or thereby or relating hereto or thereto, or any other matter, cause or thing
 whatsoever, occurred, done, omitted or suffered to be done by Lender or the Lender Party relating in any way to
 Borrower or any Obligor, Account Debtor, Permitted Third Party Lender or other Person related to this Loan. This
 indemnity is in addition to all other indemnities set forth in this Agreement and any other agreement between Borrower
 and any Lender Party. Notwithstanding any other provision of this Agreement to the contrary, all the indemnities
 shall survive termination of this Agreement, and Lender’s security interest in the Collateral shall survive until the full
 satisfaction of these Obligations, notwithstanding any release of Lender’s liens in the interim. This indemnity shall
 be without regard to the presence of any insurance held by Lender or the refusal of any insurer to pay or perform its
 obligations.

           27.8      Venue. The parties agree that any suit, action or proceeding arising out of the subject matter hereof,
 or the interpretation, performance or breach of this Agreement, shall, if Lender so elects, be instituted in courts located
 within Maricopa County, Arizona (the “Acceptable Forums”), each party agrees that the Acceptable Forums are
 convenient to it, and each party irrevocably submits to the jurisdiction of the Acceptable Forums, irrevocably agrees
 to be bound by any judgment rendered thereby in connection with this Agreement, and waives any and all objections
 to jurisdiction or venue that it may have under the laws of the State of Arizona or otherwise in those courts in any such
 suit, action or proceeding. Should a proceeding be initiated in any other forum, Borrower waives any right to oppose
 any motion or application made by Lender to move the matter to an Acceptable Forum.

          27.9      Counterparts. This Agreement may be signed in any number of counterparts, each of which shall
 be an original, with the same effect as if all signatures were upon the same instrument. Delivery of an executed
 counterpart of the signature page to this Agreement by facsimile or other form of electronic communication shall be
 effective as delivery of a manually executed counterpart of this Agreement.


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           27.10 Electronic Signatures. The Parties intend to conduct business contemplated by this Agreement by
 electronic means. Each document, which is the subject of this Agreement, that a Party has affixed a typed or electronic
 signature or other authentication and then transmitted electronically to the other shall be intended as and constitute an
 original and deemed to contain a valid signature of the Party for all purposes. In furtherance of the above, Borrower
 hereby authorizes Lender to regard Borrower’s printed name or reasonable approximation thereof, electronic approval
 or other confirmation process authorized by Borrower to be by or on behalf of Borrower for any document, agreement,
 assignment schedule or invoice as the equivalent of a manual signature by one of the Borrower’s authorized officers
 or agents. The Parties agree that in any legal proceedings between them respecting or in any way relating to this
 Agreement or any transactions hereunder, each waives the right to raise any defense based on its execution hereof in
 counterparts or the delivery of executed counterparts by electronic signature and delivery. The Parties waive, to the
 fullest extent permitted by Law, any provisions of applicable Law to the contrary.

          Lender may rely upon, and assume the authenticity of, any approval and material applicable to that approval
 as the duly confirmed, authorized and approved signature of Borrower by the person approving the same which
 constitute an Authenticated Record for all purposes including under the UCC and shall satisfy the requirements of any
 applicable statute of frauds.

          27.11 Severability. Should any provision, clause or condition of this Agreement be held by any court of
 competent jurisdiction to be void, invalid, inoperative, or otherwise unenforceable, the defect shall not affect any other
 provision, clause or condition, and the remainder of this Agreement shall be effective as though the defective
 provision, clause or condition had not been a part hereof.

          27.12 Time of Essence. Time is of the essence in the performance by Borrower of each and every
 obligation under this Agreement. There is no grace period, cure right or other indulgence afforded Borrower except
 as expressly provided in the Loan Documents.

          27.13 Joint and Several Liability. The liability of each Borrower, if more than one, and any Guarantors
 and Obligors shall be joint and several and the compromise of any claim with, or the release of, any Borrower shall
 not constitute a compromise with, or a release of, any other Borrower, Guarantor or other Obligor.

          27.14 Benefit of Agreement. The provisions of this Agreement shall be binding upon and inure to the
 benefit of the respective successors, permitted assigns, heirs, beneficiaries and representatives of the Parties hereto;
 provided, however, that Borrower may not assign or transfer any of its rights or obligations under this Agreement
 without the prior written consent of Lender, and any prohibited assignment shall be void. No consent by Lender to
 any assignment shall relieve Borrower or any Guarantor or other Obligor from liability for the Obligations. Without
 limiting the generality of the foregoing, all rights and benefits of Lender under this Agreement may be assigned in
 whole or in part, and it may be exercised by any institution with which Lender maintains any relationship and by any
 other person or entity designated by Lender.

          27.15 Section Headings, Construction. Section headings are used herein for convenience only.
 Borrower acknowledges that the same may not describe completely the subject matter of the applicable Section, and
 the same shall not be used in any manner to construe, limit, define or interpret any term or provision hereof. This
 Agreement has been fully reviewed and negotiated between the Parties and no uncertainty or ambiguity in any term
 or provision of this Agreement shall be construed strictly against Lender or Borrower under any rule of construction
 or otherwise.

         27.16 Waiver of Homestead. Borrower, on behalf of itself and its Affiliates and any other Obligors,
 waives and renounces all exemptions and rights under homestead laws, to the fullest extent permitted by law.

          27.17    Arbitration.

                   27.17.1.        Except for “Core Proceedings” under the United States Bankruptcy Code, or as
  noted below in the next paragraph of this section 13.18, the parties agree to submit to binding arbitration all claims,
  disputes and controversies between or among them, whether in tort, contract or otherwise (and their respective
  employees, officers, directors, attorneys, and other agents) arising out of or relating to in any way (i) this Agreement
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  or any other agreement, instrument, certificate or document entered into between the parties, or any dispute, claim
  or controversy between them related to any of the transactions contemplated by this Agreement. Any arbitration
  proceeding will (i) proceed in Maricopa, County, Arizona; (ii) be governed by the Federal Arbitration Act (Title 9 of
  the United States Code); and (iii) be conducted in accordance with the Commercial Arbitration rules of the America
  Arbitration Association (“AAA”), as modified by these provisions.

                     27.17.2.       Notwithstanding the foregoing, however, the arbitration requirement does not limit
  the right of Lender to (i) foreclose against any Collateral; (ii) exercise self-help remedies relating to Collateral or
  proceeds of Collateral permitted to Lender, like setoff or repossession; or (iii) obtain provisional ancillary remedies
  like replevin, injunctive relief, attachment or the appointment of a receiver, before, during or after the pendency or
  any arbitration proceeding. This exclusion does not constitute a waiver of the right or obligation of either party to
  submit any dispute to arbitration, including those arising from the exercise of the actions detailed in this paragraph.

                    27.17.3.        Any arbitration proceeding will be before a single arbitrator selected according to the
  Commercial Arbitration Rules of the AAA. The arbitrator will be a neutral attorney who has practiced in the area of
  commercial law for a minimum of ten (10) years. The arbitrator will determine whether or not an issue is arbitrable
  and will give effect to the statutes of limitation in determining any claim. Judgment upon the award rendered by the
  arbitrator may be entered in any court having jurisdiction.

                     27.17.4.         In any arbitration proceeding, the arbitrator will decide (by documents only or with
  a hearing at the arbitrator's discretion) any pre-hearing motions which are similar to motions to dismiss for failure to
  state a claim or motions for summary adjudication.

                     27.17.5.    In any arbitration proceeding discovery will be permitted at the arbitrator’s discretion
  and will be governed by the Arizona Rules of Civil Procedure unless otherwise ordered by the arbitrator. The
  arbitrator shall award costs and expenses of the arbitration proceeding in accordance with the provisions of this
  Agreement.

       27.18 Waiver of Trial by Jury. IN RECOGNITION OF THE HIGHER COSTS AND DELAY
 WHICH MAY RESULT FROM A JURY TRIAL, THE PARTIES HERETO WAIVE ANY RIGHT TO
 TRIAL BY JURY OF ANY CLAIM, DEMAND, ACTION OR CAUSE OF ACTION (A) ARISING
 HEREUNDER, OR (B) IN ANY WAY CONNECTED WITH OR RELATED OR INCIDENTAL TO THE
 DEALINGS OF THE PARTIES HERETO OR ANY OF THEM WITH RESPECT HERETO, IN EACH CASE
 WHETHER NOW EXISTING OR HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT
 OR TORT OR OTHERWISE; AND EACH PARTY FURTHER WAIVES ANY RIGHT TO CONSOLIDATE
 ANY SUCH ACTION IN WHICH A JURY TRIAL HAS BEEN WAIVED WITH ANY OTHER ACTION IN
 WHICH A JURY TRIAL CANNOT BE OR HAS NOT BEEN WAIVED; AND EACH PARTY HEREBY
 AGREES AND CONSENTS THAT THE CLAIM, DEMAND, ACTION OR CAUSE OF ACTION SHALL BE
 DECIDED BY COURT TRIAL WITHOUT A JURY, AND THAT ANY PARTY HERETO MAY FILE AN
 ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT AS WRITTEN
 EVIDENCE OF THE CONSENT OF THE PARTIES HERETO TO THE WAIVER OF THEIR RIGHT TO
 TRIAL BY JURY.

     Borrower, by executing this Agreement, warrants and represents that it has fully read this Agreement, has
     had the opportunity to be represented by counsel and to ask and receive answers to any questions it may
     have concerning this Agreement, that it fully understands all of the terms and provisions hereof, and that
     this Agreement, although drafted by Lender, shall not be interpreted or construed against Lender.


                                                {Signature page follows}




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          IN WITNESS WHEREOF, the parties hereto have caused this Agreement to he duly executed and delivered
by their respective officers thereunto duly authorized as of the date first above written.

CiPMI. Co.




By:

          Name:             yAtxo/f                pes

          Title:           C

STA I E OF    (WiVn^A^           )

Ct >unly of                6L>   ) ss.




On this, the W         day of ^OjKMJOW/                   before me personally appeared
[and          -—**  . each] known to nuUo be the person|s| whose name is | names am subscribed lu the within
instrument and acknowledged that the personfs] executed the same for lite purposes therein contained.



IP     I TIN ESS WHEREOF, f hereunto set my hand and official seal.



                                                                                             SHELLEY R BANKERT
Notary Public                                                                                olary Public. Stale ol Arizona
My Commission Expires:
                                                                               I                  Maricopa County
                                                                                               Commission #f 556044
                                                                                              My Commission Expires
                                                                                                  August 1 9, 2022



FACTORS SOUTHWEST. L.L.C., dba FSW bunding



By:
         Name:       Robyn Barrett
         Title: Managing Member




                                          ACCEPTANCE BY GUARANTOR


         The undersigned Validity Guarantor hereby acknowledges that his warranties and representations contained
in the Validity Guaranty dated January 12. 2022 apply to the above 1 .can and Security Agreement.


Dated as of the date first noted above.




Yarron Bender, Validity Guarantor
c.B.0     ~                £**>/?4ssy




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                                         FACTORING AND SECURITY AGREEMENT


      DATE:          January 11 , 2022

      SELLER:                                                         FSW:
                     GPMI, Co.                                                  FACTORS SOUTHWEST, L.L.C.,

                     an Arizona corporation                                     an Arizona Limited Liability Company
                     1224 N. Hobson Street                                      4530 E. Shea Blvd., Ste. I 70
                     Gilbert, AZ 85233                                          Phoenix, AZ 85028

                                                             Recitals

        WHEREAS, on January 10, 2022, GPMI, Co., an Arizona corporation ("Seller") filed a voluntary petition for
Chapter 11 bankruptcy pending before the United States Bankruptcy Court District of Arizona (the ''Bankruptcy Courf')
captioned in case number 2:22-bk-00 150-EPB ("Bankruptcy Proceeding").

         WHEREAS, Seller has continued in possession of its assets in the management of its business pursuant to Sections
1 I 06 and 1107 of the Bankruptcy Code and is operating as a debtor-in-possession (the "DIP").

          WHEREAS, concunently with the execution of this f actori ng and Security Agreement (the "Agreement"), Seller
and f actors Southwest, LLC (''FS\V") have entered into that certain Loan and Security Agreement (the "Loan Agreement")
pursuant to which FSW has agreed to make certain financia l accommodations in the form of3 credit facilities including the
financial accommodations set forth in this Agreement.

          WHEREAS, Seller desi res to offer for sale and purchase all of Seller's Accounts (as defined in Addendum A) and
receive financial accommodations from FSW in accordance with the terms of thi s Agreement and the Loan Agreement, and
pursuant to the Bankruptcy Code an..-i appl icable law.

        WHEREAS, subject to the approval of the Bankruptcy Court upon notice and a hearing in accordance with the
Bankruptcy Code, Seller and FSW desire to enter into and perform under this Agreement.

         Purpose of Agreeme nt.


         The purpose of this Agreement, together with Addendum A Definitions and Addendum B Debtor-In-Possession
each attached hereto and inco1vorated herein by this reference, is to set forth the terms and conditions relating to the sale by
Seller and the purchast: by FSW, as its sole facto r, from time to time, of Seller's Accounts now existing or hereafter arisi ng
from tbc sale and delivery of goods or the rendering of services in the regular course of Seller's business. As used in th is
Agreement, ''Seller" means the Seller named above and any subsidiaries and other affiliates presently in existence or created
in the fut ure and their respective successors and permitted assigns, including Seller in its capacity as a DTP and after
termination of the Bankruptcy Proceeding. Capitaliu d terms not defined in the context shall have the mea nings given thost:
terms in the Addendum A to this Agreement.

2.       Sale; Purchase Price; Billing; Reserve Acco unt.


         2. 1     Assignment and Sale.

         2. 1.1   Seller does hereby agree to offer for sale to FSW all of its Accounts arising from time to time and FSW
may purchase, at f SW's offices in Phoenix, Arizona, those said Accounts as are acceptable to fSW, in its sole and absol ute
discretion. FSW shall ha ve no obligation to purchase any Account from Seller which it does not approve and accept. In this
regard, FSW reserves the right to reject an Account regardless of whether FSW may have purchased Accounts of a particular
customer in the past.

         2.1.2    Accounts shall be offered by Seller to fSW upon fo rms as may be provided by FSW, accompanied by
original or copies of invo ices therefor (as FSW may request), together with satisfactory evidence of shipping or proof of


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delivery or perrormance or services, and other documents as FSW may from time to time require. FSW shall have the right to
withhold any advance against the purchase price for those Accounts so accepted until Seller furnishes those documents.

          2. 1.3   Upon acceptance in writing of the purchase and assignment of an Account by a duly authorized agent of
FSW, said assignment shall vest full , absolute and irrevocable title and ownership to said Factored Account in FSW, as the
sole and absolute owner thereof, together with the proceeds thereofand Seller's title to the goods represented thereby. As the
full and sole owner of the Factored Account, FSW shall be entitled to all of the ownership, title, rights, or guarantees which
Seller possessed with respect thereto and with respect to the goods represented thereby, including without limitation, the right
to stoppage in transit. reclamation or replevin of the goods, the right to the goods which may be rej ected, returned, or
reconsigned and in and to any new Account created through the resale or exchange of those goods, the right to file in the
name of Seller or FSW materialmen·s liens and claims under any payment bond, and the right to contact Seller's Customers
at any time fo r the purpose of verifying any information relating to any Factored Account in the na me of Seller or FSW,
without notice to or consent of Seller. Seller shall have no right or power to modify. change or alter the terms, price or other
conditions ofany Factored Account, without fi rst obtaining the prior written approval of FSW.

         2. 1.4   Notwithstanding the foregoing, FSW wi ll only purchase Accounts of Seller. so long as, at the time of that
purchase, the unpaid balance of the Factored Accounts does not exceed, before and after that purchase, the Maximum
Amount, provided. ho11"ever, that all term and conditions of this Agreement shall apply in the event the Maximum Amount
is exceeded and Seller shall remain liable for all Obligations in the event thereof. Notwithstanding the foregoi ng, nothing
contained herein shall be deemed to constitute a commitment by FSW to purchase any Accounts from Seller.

        2.1.5    It is specificall y understood and agreed that notwithstand ing the fo regoing, FSW shall not as a result of
purchasing those Accounts. either expressly or impliedly, be deemed to have assumed any liability or obligation which Seller
may now or at any time hereafter have to its Customers. and in thi s regard Seller shall indemnify, defend and hold FSW
harmless from any and all liability with respect thereto.

         2.1.6     Each Customer of every Factored Account may be notified in writing that its Account has been sold and
assigned to FS\.\' and that all payments on said Factored Account shall be made only to FSW, wh ich noufication shall be
done at the option of and in a 111<111ncr as FSW sllal I reasonably prescribe from ti me to ti111e.

         2.2       Purchase Price/ Reserve Account.

          2.2. 1   The purchase price for each Factored Account will be the Net Face Amount thereof, less the Initial
Factoring Fee, plus the amounts owed pursuant to Section 2.2.5, if any. At the time that the Account is purchased in FSW's
sole discretion, FSW may advance to Seller an amount equal to the Advance Percentage set forth in this Agreement, with the
remaining amount to be withheld and credited to a non-interest bearing Reserve Account to be maintained on the books of
FSW for Seller. Additional Factoring Fees computed on the Net Face Amount of the Account may be charged by FSW for
each Additional Factoring Fee Period and ded ucted from the Reserve Account at the time as the Factored Account is paid,
charged back. repurchased. or otherwise settled by Seller. No Factored Account shall be deemed to be paid until the
expiration of three (3) Business Days after the remittance is received by FSW, or a longer period as is necessary to allow for
clearance of the remittance by FSW's bank.

          2.2.2    All remittances by FSW shal l be by check, ACI-1 or wire transfer with in two (2) Business Days after
submission to FSW or all documents referred to in Section 2.1.2. Any remittance to be paid by FSW to Seller may be reduced
by any amo unts due to FSW from Seller pursuant to thi s Agreement,proi·ided. however, that fai lure to reduce those amounts
shall not relieve Seller of its liability to pay FSW for such amounts due.

         2.2.3    The Reserve Ac count shall be held by FSW and may be applied to any Obligations of Seller to FSW.
Pnw-ided that no e-vent ef Defot1lt has occurrecr,tlre-excess-ovcr the Required Reserve Amount maybe pa1at o Seller at least
                                                                                                                                     +
twice each month with respect to those Factored Accounts which have been paid. less all FSW 's Costs, Additional Factoring
Fees, the Net Face Amount of any Factored Account to be charged back or repurchased by Seller, adjustments, short
payments, or discounts made or allowed on any Factored Account. or sums or Obligati ons owing from Seller to FSW,
whether arising out of this Agreement or otherwise. In the event there is a Reserve Shortfall, Seller agrees to pay to FSW
on demand the amount thereof. FSW, in its sole discretion, may adjust the percentage of the Reserve. No interest shall be
paid by FSW or earned by Seller on the Reserve Account.

        2.2.4   It is further understood that notwithstanding anything to the contrary contained in this Agreement, upon
the occunence of an Event of Default. FSW shall have no obligation to disburse any sums to Seller from the Reserve


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Account until the time as all Obligations of Seller to FSW. arising out of this Agreement or otherwise, ha ~c·b~~;~·full/paid
and satis fied and Seller has otherwise cured any Events of Default or any Incipient Defaults.

          2.2.5 □ If checked here, in addition to the amounts otherwise set forth in this Agreement, as additional purchase
price for the Accounts, Seller wil l pay FSW interest on the Daily Balance. Interest will be calculated daily at a rate per annum
equal the Daily Balance Rate plus the Base Rate (the "Interest Rate") and will be charged to Seller on the last day of the
month. Ln no event will the Base Rate be lower than the Minimum Base Rate at any time. Any publicly announced decrease
or increase in the Base Rate will result in an adjustment to the Interest Rate on the next Business Day. After the
occurrence of an Event ofDefault and for so long as the Event of Default continues. all the Obligations will, at FSW's option,
with or without the notice to Seller, bear interest at a rate per annum equal to the Daily Balance Default Rate. Seller shall
pay FSW a Collateral Management Fee, which Interest will be calculated on the basis of a 360-day year for the actual
number of days elapsed. In no event wil l the total amount of interest received by FSW exceed the amount of interest or other
charges permitted by appl icable Law and in the event excess interest or charges arc determined by a court of competent
jurisdiction to have been paid by Seller to FSW, the excess amount wi ll be applied as a credit aga inst the outstand ing
Obligations and Seller will not have any action against FS W or any damages arising out of the payment or collection of
those excess interest or charges if so applied or the excess amounts are refunded to Seller. If an Account or any payment is
charged back to Seller after the collection date, Seller wi ll pay FSW interest at the Interes t Rate on that Account or on that
payment from the date of the chargeback until Seller has paid FSW for Obligation related to that Account in full.

3.       Repu rc hase Of Factored Accounts.
         3.1       It is understood that all Factored Accounts purchased by FSW will be with ful l reco urse to Seller and FSW
may require Seller to repurchase. by payment of the then unpaid Net Face Amount thereof. together with any unpaid fees relating
to the Factored Account in the event that the Factored Account:

         3. 1. 1   is subj ect to a Customer Dispute. FSW being under no obligation to determine whether the dispute is bona
fide. Until the Factored Account is repurchased by Seller, it is understood and agreed that any returned goods shall be and
remain the property of FS\V. FSW shall have the right, in its discretion, to dispose of any returned or rejected goods at a
price and upon terms reasonably a\'ailable to FSW under the circumstances, in the sole opinion of FSW and as required by
Law;

         3. 1.2    does not conform to the wammties and representations set forth in this Agreement;

          3.1.3    is owed by a Customer who, in FSW 's reasonable credit judgment, has become insolvent or has defaulted
on its obligations to Seller or any of its other creditors; or

         3. 1.4    remains unpaid beyond the Late Payment Date.

        3.2     The repurchase or charge back of any Factored /\ccoun t shall be accomplished in any one of the following
manner or combination thereof. at FSW's sole discretion:

        3.2. 1   deducting the Net Face Amount of the Factored Account from the amount which would otherwise be
advanced to Seller in connection with the purchase of additional Accounts;

        3.2.2    deducting the Net Face Amount of the Factored Account from the Reserve Account which would
otherwise be paid to Seller;

         3.2.3  deducting the Net Face Amount of the Factored Account from any other funds which come into the
possession of FSW and which would otherwise be paid to Seller;                                                                        +
         3.2.4    debiting the Net Face Amount of the Factored Account against any deposit account of Seller. pursuant to
Section 13. I; or

         3.2.5     payment from Seller, which shall be paid withi n one (I) Business Day following demand by FSW.

4.       Securitv Interest in Collateral.

        It is the express intention of the parties that the sale of the Accounts be deemed to be a true sale and not a financing
arrangement. The Factored Accounts are and shall remain solely the property of FSW at all times during the term of this

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Agreement until the Obligations are paid in full by Seller, and shall not be the property or Seller's bankruptcy estate in the
Bankruptcy Proceeding.
          4.1       Notwithstanding the true sale nature of the sale of the Account, in the event that such assignment and
conveyance of any of the Purchased Accounts is characterized by any court of competent jurisdiction as a loan rather than a
sale, and to secure Seller's Obligations hereunder, Seller authorizes FSW at any time and from time to time to file any
fina ncing statements and amendments thereto that it deems appropriate to perfect its security interest in the Collateral,
including describing the Collateral as "all asse ts of Seller"' or words or similar effect. FSW may. at its election, include a
statement that Seller has agreed not to assign its Accounts or other Collatera l lo any other party. It may also include a statement
that any grant of a subsequent security interest may constitute a tortious interference with FSW's rights under this Agreement.
          4.2       In the event Seller's principal(s) including, but not limited to its owners. managers. officers or directors,
and their employees and agents (collectively with Seller. the "Seller Parties") during the term of this Agreement or \\.'hilc
Seller remains liable to FSW for any Obligations under this Agreement, directly or indirectly, including acting by, through or
in conj unction with any other person. cause to be formed a new entity or otherwise become associated with any new or existing
entity, whether corporate. partnership, limited liability company or otherwise in a business similar to or competiti ve with that
of Seller, that entity shall be deemed to have jointly and severally with Seller expressly assumed the Obligations due FSW
under this Agreement. Seller and that enti ty shall notify FSW of the formation of any such entity within one (I) Business Day
afrer that fo rmation. With respect to any such entity, Seller shall be deemed to have been granted FSW an irrevocable power
of attorney with authority to file. naming the newly fo1med or existing entity, an initial UCC- 1 fina ncing statement and to
have it filed with any and all appropriate secretaries of state or other UCC filing offices. FSW shall be held harmless by Seller
and its principals and be relieved of any liability as a result ofFSW's authentication and filing of any such financing statement
or the resulting perfec tion of its ownership or security interests in the entity's assets. The Seller Parties shall, and shall cause
the new entity, to execute and deliver to FSW agreements substantially identical to this Agreement and all other agreements
between Seller and FSW or its affiliates, within five (5) Business Days following FSW's request to do so. FSW shall have
the right to notify the entity's Customer or FSW's rights. including without limitation, FSW's right to collect all Accounts.
and to notify any creditor of the entity that FSW has such rights in the entity's assets. Nothing in this Section shall authorize
or excuse the formation by any or the foregoing of a new company or entity or to otherwise divert or attempt to dive11
accounts, assets, income or business away from Seller or FSW. Notwithstanding the above, the terms and conditions set forth
in this Section 4.2 remain subject to any cove11ants contained in Section 8 below, including, but not limited to, any
requirements that Seller receive FSW's consent and approval prior to any merger. sale or other similar transaction as specified
in Section 8.9 of the Seller's business or assets.

5.       Collection of Factored Accou nts.
          5.1      All remittances. including cash. checks and other proceeds arising from the Factored Accounts shall be the
sole and exclusive property of FSW. Seller acknowledges and agrees that it shall not have any right to, or interest in, or power
or authority to deposit or in any way exercise dominion or control over the proceeds of any Factored Account. Upon receiving
any inquiry from a Customer relating to payment of Factored Account, Seller shall infom1 the Customer to make payment
directly to FSW.
         5.2       If for any reason Seller should receive any payment or other proceeds with respect co a Factored Account,
Seller agrees to hold that payment or proceeds in trust fo r FSW separate and apart from any property of Seller and shall deliver
the same to FSW on the same or next Business Day, in the form received without negotiation, together with any voucher or
memoranda. If any pa ymen t received by Seller with respect to a Factored Account is cashed, deposited or negotiated
by Se ller, it is understood by Seller that th e action shall constitute an Event of Default hereunder and may subject
S eller to civil liability and/or criminal prosecution. otwithstandi ng that the action constitutes an Event of Default
under this Agree ment, Seller shall immediately be obligated to pay said sum to FSW, plus an amount equal to 15% of
said sum, not as a penalty, but as liquidated damages to compensate FSW for additional administrative and collection .
expenses resulting from that action. In addition to all other remedies, FS\Y shall have the ri ght to debit those amounts
against any deposit account of Seller, pursuant to Section 13.1.
         5.3    Any remittance made by a Customer, unless specifically designated as being in payment of a particular
Factored Account, including remittances representing C.O.D. sales, may be applied by FSW in its sole discretion.
        5.4       To facilitate the collection of the Factored Accounts, Seller does hereby make, constitute and appoint FSW,
any agents designa ted by FSW, as its attorney-in-fac t with full power to receive, lake. accept, endorse, and deposit in the name
of FSW or Seller any check, note, draft, money order or other evidence of payment which may come into the possession of
FSW pertaining to any Factored Account; receive, open and dispose of all mail addressed to Seller pertaining to the Factored
Accounts: demand, collect, receive, receipt fo r, give releases for, or compromise or settle the payment of or prosecute, or
defend any action or proceeding pertaining to the Factored Accounts in its own name or in the name of Seller; sign Seller's
name on any notice of assignment, materialman 's lien or waiver thereot~ or on any other instrument or doc ument with respect


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    to those Factored Accounts; prepare and sign Seller's name and file a proof of claim in bankruptcy or similar document with
    respect to any Customer and do all acts and things necessary to facilitate the collection of those Accounts. The authority
    granted FSW shall be coupled with an interest and remain in full force and effect until all Factored Accounts are paid in full
    or all Obligations of Seller to FSW have been full y paid and satisfied. FSW shall have no obligation to engage in any collection
    or other action with respect to the collection of any Factored Account. nor shal l it have any direc t or indirect liability to Seller
    for its actions undenaken or not undertaken in connection herewith. All fees and expenses of any attorney or collection agency
    employed by FSW or on its behalf to collect any Factored Account with respect to which FSW has or which is otherwise
    subject to a notice of a dispute, claim, offset. defense or counterclaim by the Customer shall be charged to Seller's account
    (includ ing, at Fsw·s election, the Reserve Account) and shall be paid by Seller, as part of its Obligations to FSW.
              5.5      Seller agrees to cooperate, at Seller's expense, with FSW in making a good faith, commercially reasonable
    effort to assist FSW in collecting the Factored Accounts.
              5.6     Seller releases FSW from any claim which Seller may now or hereafter have arisi ng out of FSW's
    endorsement and deposit of any check issued by Seller's customer stati ng that the check is in full payment of a Factored
    Account, but issued for less than the full amoun t which may have been owed. Seller authorizes FSW to accept, endorse and
    deposi t on behalfofSellcr, any check tendered by customer •'i n full payment" of its obligation to Seller. Seller shall not assen
    against FSW any claim arising therefrom, irrespective of whether that action by FSW is an accord and satisfaction of Seller's
    claim under the Uni fo rm Commercial Code or otherwi se.
              5.7     Seller shall notify FSW immediately in the event of a Customer Dispute, or in the event that any goods
    represented by any Factored Account are returned to Seller for any reason. Seller shall, subject to FSW's prior approval,
    promptly adjust and settle the same at its expense and advise FSW of any such adjustment. Seller shal l, on demand, pay over
    to FSW the amount of any such adjustment or repurchase said Factored Account, or in the alternative, FSW may offset against
    any such sums as may be due to Seller the amount of that adjustment or the foll unpaid balance thereon. In either event, Seller
    shall also pay any and all expenses and atto rneys' fees and disb ursements that FSW may have incurred. Until said Factored
    Accou nt is repurchased by Seller, it is understood and agreed that all returned or rejected goods shall be and remain the
    property of FSW. FSW shall have the privilege of disposing of any returned or rejected goods at a price and upon terms
    reasonably available to FSW under the ci rcumstances, in the sole opinion ofFSW, and in accordance with Law.

    6.       C onditions to all Purchases.
             6.1       Any purchase of proposed Accounts by FSW, including the initial purchase, is subject to the following
    conditions:

             6.1.1     No Event of Default or Incipient Defa ult shall have occurred and be continuing; and

              6. 1.2  The Seller shall have delivered to FSW on or prior to each dale or purchase, in form and substance
    satisfactory to FSW. complete informatio n with respect to each proposed Account submitted together with additional
    inforn,ation as may reasonably be requested by FSW; and

             6.1.3     There shall be no material adverse c hange in the financial position or business prospects of the Seller or
    its customers, as compared to that existing on the dale hereof.

             6. 1.-4  This Agreement has been approved by an order of the Bankruptcy Coun entered in accordance with the
    provisions of Section 7 .17 and Section 7. 18 of the Loan Agreement.

             6.1 .5    All co nd itions set fo rth in Article 7 of the Loan Agreement have been satisfied.

    7.       Warranties, Representations and Covenants.
              As an inducement for FSW to enter into tllis Agreementanclto-J)-urchase-Accounts from-Se Her from time-to t1me-;                +
- - a-nd with foll knowledge that the trnth and accuracy of these wa,i-anties, representations and covenants are being relied upon
    by FSW, regardless of any credit investigation, diligence or knowledge ofFSW, Seller warrants, represents and covenants as
    follows, which wan-anties, representations and covenants shall be deemed to be made at the time each Account is purchased
    by FSW:
              7.1        Seller is an entity dul y organized under the Laws of the State of its organization, and is and at all times
    hereinafter will be in good standing under the Laws of such state and is duly qualified and in good standing in every other
    state in wh ich it is requi red to be registered or licensed.
            7.2      The Seller has fu ll power and authority to own or lease its properties and to conduct its business as presently
    conducted and, subject to the approval of the Bankruptcy Court in the Bankruptcy Proceeding, to execute, deliver and perform

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this Agreement, any assignment and any other documents related thereto to which it is a party and to consummate the
transactions contemplated hereby and thereby;
         7.3       Subject to the approval of the Bankruptcy Court in the Bankruptcy Proceeding, the execution and delivery
of this Agreement by the Seller and the consummation of the transac tions contemplated hereby will not result in a breach of
any of the terms and provisions of, or constitute a default under, or conflict with, any contract, the organization documents
of the Seller, any judgment, decree, order or award of any court, governmental body or arbitrator or any federal, state,
municipa l, local or foreign Laws. statute, ordinance, rule or regulation applicable to the Seller.
         7.4     This Agreement, each assignment and all other instruments and documentation being delivered hereunder
has been duly and validly authorized, executed and delivered by the Seller and, subject to approval of the Bankruptcy Coun
in the Bankruptcy Proceeding. constit1.1tes a valid and legally binding obligation of the Seller. enforceable against the Seller
in accordance with its terms and any conditions imposed by order of the Bankruptcy Court;
         7.5      Seller is presently doing business only under the company and Trade Names set forth in this Agreement or
as otherwise disclosed to FSW in writing.
           7.6      The place or business of Seller, or if Seller has more than one place or business, the location of its chief
executive office. is at the location set fo rth in the preamble of this Agreement and will not be moved therefrom, without at
least thirty (30) days' prior wrinen notice to FSW.
        7. 7      All records of Seller pertaining to the Accounts shall be kept and stored at Seller's address set forth in the
preamble of this Agreement and will not be moved therefrom, without at least thirty (30) days ' prior written notice to FSW.
          7.8        Upon termination of the Bankruptcy Proceeding. Seller will be solvent and able to pay its debts as they
mature.
          7.9        Seller is the true and lawful owner of the Accounts and the Collateral.
          7. 10     All financial statements. applications and information delivered to FSW or financial records or Seller's
Books which may be shown to FSW at any time shall be true and correct in all material respects and kept in accordance with
consistently applied accmmting principals, and, except as otherwise disclosed to FSW, there has been no adverse change in
the condi tion, financial or otherwise, of the business since the date thereof. All actions, suits, proceedings or investigations
pending or, to the knowledge of the Seller, threatened or contemplated, before any cou,1, administrative agency, arbitrator.
governmental body or other tribunal (collectively the '·Claims") are identified on Schedule 7.10. Except as specifically
disclosed in Schedttle 7.10, tl1ere are no Claims against Seller relating to: (i) the Accounts, (ii) Seller; or (iii) to Seller's knowledge,
the Customers, any or which could have a material adverse affect on the transactions contemplated herein. the abi lity of the
Seller to perform hereunder or FSW' s ability to collect the Factored Accounts or realize upon the Collateral. If any of the
forego ing arises, Seller shall inm1ediately notify FSW in writing with respect thereto.
         7.11     All or the Accounts and all Collateral arc owned by Seller only and are free and clear of any and all liens,
claims or security interests of any party and no fina ncing statement covering the Accounts, the Collateral or the proceeds
therefrom is or shall be on file at any public office, except as provided in Section 4.2 above.
          7. 12      Each Factored Account:

          7. 12. l   purchased by Seller hereunder shall be owned by Seller free and clear of any security interest of any other
party;

          7.12.2 is genuine and in all respects what it purports to be and represents a bona fide sale in the ordinary course
ofSeller·s business of the kind, quantity and quality of the goods or services described therein, and that the goods or services
described therein have been completely delivered, installed or performed in accordance with any wananty, guaranty or
service standards offered by Seller and in a commercially reasonable ma nner, and at the time o f delivery or installation have
been accepted by the Customer without condition;

          7. 12.3 is not owed by a Customer in which Seller or any manager, director, officer or equity ownerofSeller has
any legal or fi nancial interest or represents se rvices furn ished or provided to or on behalf of any subsidiary, parent, person,
assoc iate or other entity affiliated with the Seller:

      7.12.4 is not owed by a Customer who has commenced or has had a peti tion under the Bankrnptcy Code
commenced against it, and none of those proceedings are threatened;

        7. 12.5 is due and payable in thirty days or less or on other terms as are acceptable co FSW. in its sole discretion,
which are expressly set forth on the face of the invoice:


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         7.12.6 is not subject to any credit, deducti on, discount, allowance exceeding the Dilution Rate, or any Customer
Dispute, and the goods represented by said Account have not been sold on consignment or with any return privilege
whatsoever (excepting defective merchandise);

          7. 12. 7 is not subject to any defense or setoff, counterclaim. recoupment, defense, abatement, suspension,
deferment, deductible, reduction, di spute or termination which could be asserted by way of defense or counterclaim against
Seller or FSW by the Customer, nor does any condition exist which would give rise thereto;

        7.12.8 arose in a commercial transaction and is not for persona l, family. household or agricultural purposes or in
connection wi th the sale of residential real estate;

        7.12.9 has been originated and the products sold and/or services rendered that underlie that Account were
unde11aken in full compliance with all legal duties of Seller and its agents.
         7. 13     Seller has not settled, compromised, released or adjusted any Factored Account and will not bri ng any suit
or attempt to collect thereon, without FSW's prior consent.
          7. 14    Seller has notified FSW and wil l continue to notify FS\.V of the occunence of any of the following: (i) a
tax lien or warrant is issued/ fi led against any of Seller, Seller's pri ncipals or Seller's assets; (ii) any of Seller or its principals
fails to pay any tax when due; or (iii) any of Seller or its principals) receives any notice of tax assessment, deficiency or levy.
         7. 15    Seller has no subsidiaries or other affiliates other than those disclosed in writing to FSW prior to the
Effective Date, and no additional subsidiaries or other affi liates have been or wil l be created on or after the date of this
Agreement without FSW's prior written consent, which consent may be withheld in FSW's absolute discretion or conditioned
upon any such subsidiary or other affiliate entering into an agreement similar to this Agreement with FSW.
          7.16    Seller has not and will not, without first satisfyi ng in full all of Seller's Obligations to FS\.V, (I) merge or
consolidate with or into another legal entity; (2) sell, lease, or otherwise substantially dispose of all or substantially all of its
assets to another person or legal entity: or (3) purchase all or substa11tially all the stock or other equity inrerests in or assets
of another person or legal entity.
         7.17     Seller has and \\'ill continue to provide to FSW all such information about Seller· s ownership, officers,
directors and corporate structure as may be required by FSW.
          7. 18    Scllt:r operates its business in material compliance with all applicable local, federal and state Laws.
          7. 19     The Seller has submitted al l necessary documentation and supp lied all necessary information fo r payment
of each Factored Account to the Customer and has fulfilled all of its other obligations in respect thereof, including verification
of the eligibility of the Factored Account for payment by such Customer.
         7.20     Neither the Factored Account nor any related contract has been satisfied, subordinated or rescinded or,
except as disclosed in writing to FSW, amended in any manner.
        7.21    True and co1Tect copies of all claims, invoices, agreements and other documents relating to the creation of
each Factored Account have been delivered to FSW.
          7.22      Subject to the approva l of Bankrnptcy Court. no action other than the execution and delivery of this
Agreement and any ass ignment, the fili ng of fi nancing statements on Form UCC- 1 or such successor form as may from time
to time be necessary or desirable, in the state in which the Seller has been formed or otherwise incorporated and the provision
of consideration by FSW is required to perfect the in terest of FSW, as the owner, assignee and trans feree of the Factored
Accounts with a fi rst priority security interest therein. and to perfect FSW as secured party with a first priority lien and
security interest in the other Collateral pledged to FSW, and all such actions have been or will be accomplished no later than
the date of purchase of the Factored Accounts therefor. Subject to the approval of the Bankruptcy Court, the Seller has the
right to sell ass_igi_, and transfe_L o\\'.lle.rship oLeacLFactorecl A~ount.                                                                   +

         7.23      The Seller has and shall treat the sale and assignment of Factored Accounts as a true sale for all purposes,
including, without limi tation, tax and accounting, it being understood that it is the intention of both parties that the
assignment of Factored Accounts pursuant to this Agreement and ass ignment be treated as a sale for all purposes. The
Seller shall mark its books and records to show the Factored Accounts as sold to FSW.
         7.24       The Seller has sold and will sell the Factored Accounts and the other Collatera l to FSW without ma rkup
over the actual sales price and terms offered to the Customer, and Seller sold the goods or services underlying the Factored
Accounts in good fait h, for fai r and reasonably equivalent value, and without inte nt to hinder, delay or defraud the Seller's
present or futu re creditors.


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         7.25       Except as disc losed to FSW in writi ng. the Seller has no knowledge or any fact which should have led it to
expect at the ti me of sale of such Factored Account to FSW that such Factored Account would not be paid in full , when due,
in the normal course.
        7.26      The proceeds o f the sale of the Factored Accounts will be used exclusively for the business and commercial
purposes of the Seller.

8.       Additional Covenants of Seller.
         8. 1       Seller shall keep proper and accurate books, correspondence, records and papers penaining to all Accounts
and the Collateral and make proper entries in its books reflecting the sale of the Factored Accounts to FSW. From time to
time as requested by FSW, at the sole expense of Seller, FSW or its designee shall have access, during reasonable busi ness
hours, if prior to an Event of Default, and at any time on or after an Event of Default, to all premises where Collateral is located
for the purposes of inspecting (and removing, if after the occurrence of an Event of Default) any of the Collateral, including
Seller's Books. and Seller shall pennit FSW or its dcsignee to make copies or extracts therefrom as FSW may request. Without
expense to FSW, FSW may use any of Seller·s personnel, equipment, including computer equipment, programs, printed
output and computer readable media, supplies and premises for the collection of accounts and realization on other Collateral
as FSW, in its sole di scretion, deems appropriate. Seller hereby irrevocably authorizes all accountants and th ird parties to
disclose and deliver to FSW at Seller's expense all financial information, books and records, work papers, management reports
and other information in their possession relating to Seller, including infom1ation that may be confidential or proprietary,
         8.2      Seller shall within five (5) Business Days of request by FSW furnish FSW information relating to the
Accounts. the Collateral, Seller and its financial condition, or any other matter related to the transactions contemplated by this
Agreement as FSW ma y request from time to time. Seller shall also deliver to FSW within ninety (90) days after the close of
Seller's fiscal year its financial statements certified either by an independent CPA or, at FSW's option, an authorized
representative or Seller, and any other financial reports or statements prepared by or for Seller, within twenty days after
preparation or receipt. as applicable.
        8.3       Seller shall conduct its business in a lawful matter and in compliance with all applicable Laws, and shall
pay when due all lawrully imposed taxes, liens and assessments upon its property. business and income.
          8.4      Seller agrees, during the term of this Agreement, not to assign or grant a security interest in any of its
.'\ccounts to any other party and wi ll not grant a security interest in any or the Collateral to any other party, excepting purchase
money sec urity interests in equipment, which Seller shall discharge in full before the due date of those obligations. Seller shall
not create, pennit or suffer to exist any lien, claim or right in, to or on the Factored Accounts other than the interest of FSW.
Seller shall take actions as arc necessary to remove, and will de fe nd the right, title and interest of FSW in and to the Factored
Accounts against the claims and demands or all persons whomsoever. other than those created hereby.
        8.5       Seller agrees to make timely payments or deposits of all taxes when due (i nclud ing OASDI, Medicare Tax,
withholding tax payments and other mandatory wi thholdings), 1101 permit any tax delinquency and furni sh to FSW on demand
evidence of that payment or deposit of all taxes have been made.
         8.6      Seller agrees not in any manner whatsoever to take any action or to refrain from taking any action, which in
either case may interfe re with or hinder the collection of the Factored Accounts or interfere with any ofFSW 's ri ghts under
this Agreement.
          8.7       Seller shall, at all ti mes, at Seller's expense, insure all of the insurable Collateral, and all of Seller's books
and records, by financially sound and reputable insurers acceptable to FSW, in the fo rm of extended coverage policies against
loss or damage by theft, embezzlement, fi re, explosion, flood , sprinkler, or any other insurable event or risk that FSW may
require, to the fullest extent or the insurable value thereof. All insurance policies shall name FSW as the exclusive loss payee,
shall provide that proceeds payable thereunder shall be payable directly to FSW un less written authority to the contrary is
obtained from FSW, and shall also provide that no act or default of Seller or any other person shall affec t the right of FSW to
recover thereunder. Upon receipt of the proceeds of insurance, FSW shall apply the proceeds in reduction of the Obligati ons,
whelh.eU1IBuLlhe1LCl.u.e .in.thc order and manne-r as FSW shall determine, in its-sole discretion. Seller-shall prov ide FSW wiTh
the original or a ce11ificate of each policy of insurance which shall contain a provision requiring the insurer to give not less
than thirty (30) days' advance written notice to FSW in the event of cancellation or termination of the policy for any reason
\Vhatsoever. If Seller fails to provide or pay for any insurance required pursuant to this Section 8.7, FSW is authorized (but not
obligated) to procure the same at Sel ler's expense. Seller agrees to deliver to FSW, promptly as rendered, true and correct
copies of all reports made to all insurance companies.
          8.8     Seller will, when requested by FSW, execute any document or instrument or do any other thing necessary
to effectuate more full y the purposes and provisions of this Agreement.
         8.9      Notwithstanding any provision contained herein, including. but not limited to. Section 4.2 above, Seller shall
not herearter, without FSW's prior written consent: merge, consolidate. dissolve. acquire any other entity; enter into any

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transaction not in the usual course of busincss; make any investment in any securities other than securities of the United States
of America; guarantee or otherwise become in any way liable with respect to the obl igations of another pa rty or enti ty; pay
or make any distributi ons upon Seller's equity interests; redeem, retire, purchase or otherwise acquire, directly or indirectly,
any of Seller's equity interest; make any change to Seller's name, identity, corporate or capital structure; alter any of Seller's
business objec tives. puqJoses. or operations or financial structure in a manner as to adversely affect the ability of Seller to pay
or perfonn any of the Obligations; lend or distribute any of Seller's property or assets; incur any debts, outside of the ordinary
course of Seller's business, except extensions of existing debts and interest thereon; sell, lease, transfer, assign or otherwise
dispose of any of the Collateral: or make any capital expenditures or leasehold improvements at a cost in the aggregate in any
twelve-month period of more than S75,000.
         8. 10      Seller shall immediately give notice to FS\.V (and in no event later than one (I) Business Day following
actual knowledge thereof), in reasonable detail, (i) of any securi ty interest, lien. set- off, recoupment, defense. claim or dispute
asserted or made against any of the Factored Accounts, the Seller or the Collateral, (ii) any li tigation or administrat ive claim
commenced or threatened against Seller, the Collateral or the Factored Accounts; (iii) of the occutTence of any breach by the
Seller of any of its representations, warranties and covenants contained herein; (iv) the occurrence of any Event of Default
by Seller hereunder, and (v) of the occ urrence of any other event which could in either case. with the giving of notice or the
passage of time. or both. have an ad verse effect on the aggregate value or collcctabi lity of the Factored Accounts.
         8. 11     Seller shall not offer proposed Accounts to FSW for purchase while there is pending an uncured Event of
Default or Incipient Default by Seller hereunder without the express prior written consent of FSW after notification of the Event
of Default or Incipient Default.
          8. 12    Upon request orFSW. the chief financial officer ( or equivalent thereof of the Seller shall deliver a certi fie ate
to FSW stating as o f such date. (i) that all representations and warranties herein are true and co1Tect: (ii) that the conditions
set forth herein have been fol filled; (iii) that 110 Event of Default or Incipient Default ex.ists and is continuing; and (i,·) such
other statements and information as has been reasonably requested by FSW.

           8. 13     Seller 11·ill not, without the prior written consent of FSW, (a) grant any extension of time for payment of
an)i of the Fac;tored Ac;counts; (b) compromise or settle any of the Factored Accounts for less than the full value thereof; (c)
release in ,,·hole or in pa11 any Customer under a Factored Account, or (d) grant any credits, discounts, allowances, deductions,
r~turn authorizations or the like with respect to any of the Factored Accounts. Notwithstanding the foregoing, so long as no
Event of Default or lncipicnr Default exists, Seller may grant credits, discounts, allowances, deductions, return authoriznt ions
OI t!1e like with respec t to any of the Factored Ar.counts in the ord innry course of business, provided that any discount offered
b:1 Seller, as agent or FSW. shall not exceed the Dilution Rate and that Seller be liable to FSW fo r any such discounts.

9.       l ndemnitv.
          Seller does hereby indemnify, defend and agree to ho ld FSW, its affiliates, and their respecti ve managers, directors,
officers. employees. attorneys. representati ves and agents (collectively, the '·FS\V Parties'') ha rmless from any and all
claims, demands, liabilities, loss, damage or expenses, including reasonable attorneys' fees whic h any of the FSW Parties
may at any time sustain, suffer or incur by reason of any action which may be brought against any FSW Party by Seller, any
of Seller's Customers or any third party. This indemnity is in addition to all other indemnities set forth in this Agreement
and any other agreement between Seller and any FSW Party. Al l the indemnities shall survive the tennination of this
Agreement and shall not be deeme<l to be released by the general release refe1Ted to in Section 13. 10 of this Agreement.

          FSW shall have no Iiability for any indi rect, special, incidental or consequential loss or damage whether caused by
tort (including negligence). breach of contract or otherwise. whic h may arise in respect of this Agreement. FSW 's
obligations hereunder, or the Online Reporting Service, including equipment or property used in co1mection with the Online
Reporting Service, or for loss of profit, business, revenue, goodwill or anticipated savings, even if FSW was informed of or
had reason to know of such losses or damages.

10.       Default/Rem edies.
          I0.1     Event of Defa ult. Any one or more of the following shall be an " Event of Default'' hereunder:

          I0.1.1   Any warranty or representation made herein proves to be false in any respect.

         I 0.1.2 Seller breaches any cove nant, term or provision contained in this Agree ment or under any other agreement
or contract between Seller and FSW.

          I0.1.3   The occu1,-cnce or continuation of events of default under Seller's duties and obligations under the


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Bankruptcy Proceeding, or irSeller fails to abide by the duties and obligations imposed on debtor's in possession as providcd
in the Bankruptcy Code

         I 0.1 .4 The Bankruptcy Proceeding is convened to a Chapter 7 or other liquidation, or any involuntary petition
in bankruptcy shall be filed against Sel ler and not dismissed within sixty days.

         I 0.1.5 Any levy of attachment, execution, tax lien or similar process shal l be issued against Seller or the
Collateral and shall not be released within five days thereof.

         I 0.1 .6   Seller ceases or suspends normal business operations.

      I 0.1. 7 A material portion of the Collateral is damaged or destroyed, or cannot be located wi thin five days after
FSW makes demand upon Seller to inspect the same.

         I 0.1.8 The chief executive officer (by whatever title known) of Seller dies, becomes incompetent or is no longer
associated with Seller.

         I 0.1.9    Failure on the part of the Seller to promptly remit any sums payable by it hereunder when due.

         I 0. I. IO Failure on the part of the Seller to deliver any information and/or notices required pursuant to this
Agreement.

         IO.I.I I Seller changes its name or principal place of business (or residence of Seller if Seller is an individua l),
without the prior written consent of, and thirty (30) days' notice to, FSW.

         I 0.1.12 The occurrence oran event of default under any Guaranty or other agreement between Seller and any FSW
Party.

         I 0. 1.13 There is a change in the ownership or control of the Seller, without the prior written consent ofFSW.

Upon an Event of Default, FSW shall give Seller written notice (''Written Notice") to Seller, Seller's bankruptcy counsel
in the Bankruptcy Proceeding, the United States Trustee, and counsel for any Official Committee appointed in the
Bankruptcy Proceeding. Any party shall have (5) calendar days from receipt of Written 1 otice in which to cure the Event
or Default or file a controverting affidavit with respect to the Event or Default. If the Event of Default is not cured within
such five (5) day period, FSW may file an emergency motion in the Bankruptcy Proceeding seeking relief from the
automatic stay of 11 U.S.C. § 362 to commence and exercise its available rights and remedies. Seller hereby consents to
the Bankruptcy Court setting an emergency hearing on the emergency motion as soon as the court's calendar wi ll permit
and agrees that it will have one ( I) business day following the filing of any emergency motion to fi le an objection or other
response.

          10.2     Ri!!hts and Remedies. Upon an Event of Default, FSW may, at its election, take any or all of the following
actions, to be exercised concun-ently or successively:

           I 0.2.1 Cease purchasing Accounts from Seller or maki ng any remittances to Seller from the Reserve Account
until all Obligations of Seller to FSW have been fully paid and satisfied.

         I 0.2.2    Require Seller to repurchase, on demand, all Factored Accounts, and pay to FSW all Obligations of Seller.

           I Od.---3 Seloffan-y-and--all Ooligations-ufSelh:r ro PS-W-n]ainsrany and all flincts1hat may come intoihe possession
of FSW which wou ld otherwise be paid to Seller. Notwithstanding anything in this Agreement to the contrary, Seller may
not setoff, deduct or otherwise reduce its obligations owed to FSW by any amounts owed (or claimed to be owed) by FSW
to Seller.

           I 0.2.4 Notify the post office authorities to change the address for delivery of mail addressed to Seller to an
address as FSW may designate. FSW shall have the right to open and dispose of all mail in a manner as FSW may deem
appropriate, retaining all mail pertaining to the Factored Accounts, !he Accounts and the Collateral, making available to
Seller all other mail. without any duty to forward it.



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          I 0.2.5 Notify all Account Debtor of the security interest of FSW and proceed to collect those Accounts, having all
rights as arc granted to FSW pursuant lo Section 5 of this Agreement with respect to the Factored Accounts and Section 9-
607 of the Uniform Commercial Code.

          I 0.2.6 Take or bring, in the name of FSW or Seller, all steps, actions, suits proceedings deemed by FSW
necessa ry or desirable to effect collection of or other realization upon the Accounts and other Collateral.

         I 0.2. 7 Enter, with or without process of Law a nd without the necessity of posting a bond, upon any premises
where the Collateral is or is believed to be located and take possession of said premises, the Collateral and Seller's Books.

         I 0.2.8 Require Seller to assemble the Collateral and Seller's Books and make them available to FSW at a place
designated by FSW, at Seller's expense, or, al FSW's election, deliver the sa me to FSW at a place which is reasonably
convenient to the parties.

         I 0.2.9 Pay any sums necessary to discharge any lien or encumbrance which is senior to FSW's security interest
in the Collateral. which sums shall be part of FSW's Costs.

          I 0.2.10 Sell the Collateral in its tben condition, or after further manufacturing, processing or preparing the same,
at either public or private sale or both for cash or on terms, in a manner and at a place (including Seller's premises) as is
commercially reasonable in the sole discretion of FSW, after at least five clays notice is given to Seller prior to said public
sale or the time when a private sale will take place. FSW shall have the right to purchase all or any ponion of the Collateral at
any public sale. All proceeds from said sale after payment of all costs and expenses incurred therein shall be applied to any
and all Obligations of Seller to FSW rcn1ming any excess to Seller who shall remain liable to FSW for any deficiency.

         I 0.3   Ongoing Rights. At all times, FSW shall have the 1ight to exercise any and all rights of a secured pmty
under the Uniform Commercial Code and/or any other applicable Law. No exercise by FSW of any right or remedy shall
be deemed anelection thereo f, except to the extent required by Law.

         I 0.4     Default Ratt:. Any amounts owed by Seller to FS\V that arc not paid to FSW wht:n due shall bear intert:st
at the lesser of the Daily Balance Default Rate or the highest rate permitted by Law, until the amount is paid in full. The
assessment of interest shall not relieve Seller from its obligations to pay the amounts owed or to excuse or wa ive Seller's
de fault.
           I0.5.   No Assignment. Seller ack nowledges that this Agreement is in the nature of a financ ial accommodation
to or for the benefit of Seller within the meaning of Section 365(c)(2) of the Bankruptcy Code, and as such may not be
assumed or assigned.

11.      O nline User Standa rds.
           11. 1    FSW may post of Seller's account activity on FSW's website, which shall constin1te Seller's Online
Statement of Account. No hard copies of any activities which constitute Seller's Online Statt:ment of Account will be sent
to Seller by FS\.V. Provided there is no Event of Default, FSW shall provide Seller with reasonab ly continuous access to view
the Online Statement of Account, subject to periodic or occasional maintenance. FSW shall have no liability for outages or
other situations beyond Seller's control. Seller shall be solely responsible for checking its Online Statement of Account. If
St:llcr disputes any entry on the Online Statement of Account it shall, within thiny (30) days after the first posting of the
event, send to FSW a wTitten detailed explanation of such dispute. Unless FSW receives a timely written dispute to the activity
posted to the Online Statement or Account within thirty (30) days after it is first posted, the Online Statement of Account
shall become an account stated and be deemed accepted by Seller and shall be conclusive and binding upon the Seller.
         11.2    Online Conducting of Business. FSW and Seller intend to conduct business contemplated by this
Agreement through the internet and through FSW's Online_Reporting Scnrice. FSW----is the--sole and exclusive owner of the             -+-

Online R eporting Service. Seller hereby accepts a non-exclusive, non- transferable. terminable right to access the Online
Reporting Service, upon the terms and subject to the conditions contained herein.
         11.3      Standards Regarding Conducting Business Online. Seller and FSW agree as follows:

        11.3.1 FSW shall have the right to terminate or limit Seller's access to the Online Reporting Service upon the
occurrence of an Even t of Default or at any other time within FSW' s discretion.

        11.3.2 Seller shall not: (i) copy the Onl ine Repon ing Service nor otherwise reproduce the same other than fo r
normal system operation backup; (ii) translate, adapt, vary, or mod ify the Online Reporting Service; or (iii) disassemble,



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decompile or reverse engineer the Online Reporting Service.

          11.3.3 FSW shall not be liable to Seller for any loss or damage whatsoever or howsoever caused, whether caused
by tort (including negligence), breach of contract, or otherwise arising directly or indirectly in com1ection with the use of
the Online Reporting Service, including for any inability of Seller to ob tain access to the on-line system or for unauthorized
access to that system by others. Seller hereby waives any legal rights it has with respect to data pri vacy to the fullest extent
pe1mirted bylaw.

          11.3.4 Seller acknowledges that any and all of the copyright, trademarks, trade names, patents and other
intellectual property rights subsisting in or used in connection with the Online Reporting Service, including all
documentation and manuals relating thereto, arc, and shall remain, the sole property of the FSW. Seller shall not, during or
at any time after the expiry or ten11ination of its use of the Onli ne Reporting Service, in any way question or dispute the
ownership by FSW thereof.

          11.3.5 To the extent permitted by applicable Law, FSW excludes all warranties with respect to the Online
Repo11ing Service, either express or implied. including, but not limited to, any implied warranties of merchantability,
satisfactory quality or fitness for any particular pmpose.

         11 .3.6 Seller is solely responsible for virus scanning the Online Repo11ing Service, and FSW makes no
representations or warranties regarding any virus associated wi th the Online Reporting Services.

          11.3.7 All information, data, drawings. specifications. documentation, soft ware listings, source or object code
which FSW may have imparted and may from time to time impart to the Seller relating to the Onli ne Reporting Service is
proprietary and confidential. Seller hereby agrees that it shall use the same solely in accordance with the provisions of this
Agreement and that it shall not, at any time during or after expiry or tem1ination of this Agreement, disclose the same, whether
directly or indirectly, to any third party or use it in connection with any purpose other than the transactions contemplated
herein.
          11.3.8 Seller shall be responsible fo r restricting access to passwords and systems relating to the Onl ine Repo11ing
Service ,111d shall only provide passwords and a<.:cess to the Online Reporting System to those individuals on an as needed
basis. Upon learning of any breach or sernrity or suspected breach of security to the Online Reporting System. Seller shall
report th,: incident immediately to FSW. Seller agrees to implement and follow authentication procedures and protocols
requested by FSW. Seller shall be solely responsible for safeguarding the confidentiality of its authentication codes and
passwords, and Seller assumes all responsibility for any transactions undertaken in Seller's name through the use of those
authentication codes. passwords or using Seller's electronic signature. FSW shall have no duty to verify or authenticate that
the personts) using Seller's systems are authorized to act on behalfofSeller.
           11.4    Online Access. Upon an Event of Default. all of Seller's rights and access to any online internet services
that FSW makes ava ilable to Seller shall be provisional pending Seller's curing of all such Events of Default and FSW may
elect to terminate Seller's online access as provided fo r herein. During that period of time, FSW may limit or terminate Seller's
access to onl ine services. Seller acknowledges that the information FSW makes available to Seller through online internet
access, both before and after an Event of Default, constitutes and satisfies any duty to respond to a request fo r accounting or
request regarding a statement of account that is referenced in the UCC, including§ 9-210.

12.       Term of th is Agreement, Minimu m i\lonthlv Factoring Fee. This Agreement shall be in effect for the Original
Te1111 and shall automatically renew for consecutive li ke periods (each a '·Renewal Tenn") unless te1111inated by either party
giving the other written notice not less than th irty (30) days prior to the end of the Original Term or any Renewal Term, wh ich
written notice shall clearly state its intention to tem1inate at the end of the cuITent term. FSW may te1111inate this Agreement
at any time after an Event of Default. No termination of this Agreement shall affect the liabilities and obligations of Seller
or the rights. powers and remedies of FSW under this Agreement, or the security interest gi:_anted to FSW hereuude.r U11tiLall
Obl1gationsl1aveoeen fully paid and satisfi ed. Any termination of this Agreement or notice of term ination by Seller, and
notwithstand ing payment in full of all Obligations by Seller, is conditioned on Seller's execution and delivery to FSW of a
general release in a form satisfactory to Purchaser as set forth in Section 13.9

13.      Miscellaneous.
                                                                                                                                      l
          I 3.1     Bank Lockbox. Unless alternate vvritten arrangements are made acceptable to FSW, in its sole discretion,
Seller shall ca use all remittances by Client and any obligors on the Factored Accounts to be remitted to a bank lockbox
established by FSW, subject to terms and conditions as are deemed appropriate by FSW and the financial institution. which
shall remain in effect so long as any Obligations remain unpaid to FSW. FSW is also hereby authorized by Seller to initiate



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 electronic debit or credit entries through the ACH system to any deposit account maintained by Seller wherever located.
 Seller shall execute all fo rms. agreements or authorizations requ ired in connection with these authorizations, which agreement
 and authorizations are coupled with an interest and are in-evocable.
           13.2      Disposal of Papers. Seller authorizes FSW, in its sole di scretion, lo dispose of any documents, schedules,
 invoices or other papers delivered to FSW at any time six (6) months after they are delivered to FSW, unless Seller requests,
 in writing, the return of the same, which shall be made at Seller's expense.
           13.3      Waiver. No fail ure to exercise and no delay in exercising any 1ight, power. or remedy hereunder shall impair
 any right, power, or remedy which FSW may have, nor shall any such delay be construed to be a waiver of any of its rights,
 powers, or remedies, or any acquiescence in any breach or default hereunder; nor shall any wa iver by FSW of any breac h or
 default by Seller hereunder be deemed a waiver of any default or breach subsequently occrn,-ing. FSW shall not be deemed
 to have waived any of its rights or remedies hereunder unless that waiver is in writing and signed by FSW. Failure or delay by
 FSW in exercising or enforcing any right, power, privilege, lien, option or remedy hereunder shall not operate as a waiver thereof
 and a waiver by FSW of any defaul t by Seller under this Agreement shall not be construed of any subsequent or other defa ult
 or effect or impair any right or power resulting therefrom.
           13.4     Notices. All wri tten notices which are to be given under this Agreement by either party shall be delivered,
 sent electronically or mai led postage prepaid to the address stated in the preamble hereto or to any other address as may be
 designated in writing. All notices required to be given to Seller shall be deemed given upon the first to occur of (i) upon
 deposit thereof in a receptacle under the control of the United States Postal Service. (ii) transmittal by electronic means to a
 receiver under the control of Seller with an acknowledgement of receipt; (iii) the following day after delivery to a reputable
 national overnight de li very courier, or (iv) actual receipt by Seller or an employee or agent o f Seller. All notices to FSW
 hereunder shall be deemed given upon actua l receipt by a responsible officer ofFSW.
           13.5      Entire Agreement: Amendmen t. This Agreement, together with the recitals hereto and the Addend ums
 referenced herein. constitutes the full and complete Agreement of the parties hereto and shall supersede in its entirety any
 prior agreement or understanding ber,,·een the parties, whether written or oral. Seller specifically acknowledges and agrees
 that FSW has not made and shall not at any time be deemed to have made and hereby disc laims any representations, warranties,
 promises. covenants. agreements or guara nties of any kind or character whatsoever, whether express or implied, oral or
 written. past, present or future of by FSW except as specifically set forth herein. This Agreement shall not be modified or
 amended in any respect. except by an agreement in writing signed by both of the parties.
           13.6     Scverabilitv. lfany provision of this Agreement is determined to be legally invalid or unenforceable, the
 validity or enforceabi lity of the rema ini ng provisions of this Agreement shall not be affected or impai red thereby.
           11. 7    Attomevs· Fees. Seller shall reimburse FSW fo r all attorneys' fees and disbursements incurred in preparing
 th is Agreement or any mod ifications thereto, in administering this Agree ment or the transactions, obtaining or enfo rcing any
 right or remedy arising out of this Agreement, realizing upon any of the Collatera l or incurred in any litigation. dispute, suit
 or proceeding, whether commenced by FSW or by way of defense or intervention in any such action or proceeding. which
 attorneys' fees and all court costs shall be deemed to constitute a part of FSW's Costs.
           13.8     Effectiveness. This Agreement shall become effective only when and if it is executed by an authorized officer
 ofFSW.
           13.9     General Release. Tn recogni tion of the FSW's ri ght to have its attorneys' fees and other expenses incu1Ted
 in connection with this Agreement secured by Collateral, and notwithstanding payment in full of all Obligations by Seller.
 FSW shall not be req uired to record any terminations or satisfactions of any of FSW's liens on the Collatera l un less and until
 Seller has executed and delive red to FSW a general release in a fo rm suitable to FSW, fo r no additional consideration. Seller
 understa nds that this provision constitutes a waiver of its rights under § 9-5 I3 of the Un ifo rm Co mmercial Code.
            13. 10 True Sale. It is the expressed intention of the parties that the transactions contemplated by this Agreement
  with respect to the Factored Accounts invo lve a true purchase of Accounts wi th transfer of ti tle thereto, and shall not be
  deemed to be a loan. Notwithstanding this express intention, should a court of co mpetent j urisdiction determine tha t the          -   +
- 1ransactinns contemplated herein shalloc construed tooe a loan by FSW to Seller and that all deductions, rebate charges,
  FSW' s costs and any other charges hereunder are to be treated as interest on funds advanced, then Seller shall be dee med to
  have agreed to pay that rate of interest as is detennined resulting from all charges paid or to be paid by Seller arising out of
  this Agreement.
           13.11    Binding Agreement. This Agreement shall inure to and be binding upon the parties hereto, their persona l
 representatives. successors and assigns; pro,'ided. hon·e,•er. that Seller shall not have the right to assign this Agreement or any
 rights hereunder without FSW's prior written consent and any assignment made without that consent shall be void and of no
 effec t whatsoever. FSW shall have the right at any time to assign or grant a security interest or participation interest in this
 Agreement to any party, without obtaining the consent of Seller.



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          13.12 Interpretation. No portion of this Agreement shall be interpreted against the party that drafted it as each
party has been represented by or had the opportunity to be represented by counsel. Unless otherwise given a defined meaning
in this Agreement, terms defined in the Unifonn Conu11crcial Code shall have the meanings given those tc1111s in that code in
the applicable jurisdiction. The term "including" shall mean '•including without limitation,"' regardless of whether so stated.
The use of the singular shall include the plural and vice versa. and the use of any gender shall apply to any other gender, as
the context shall require.
          13.1 3 Counterparts. This Agreement may be signed in any number of counterparts, each of which shall be an
original, with the same effect as if all signatures were upon the same instrument. Delivery of an executed counterpart of the
signature page to this Agreement by facsimile or electronic mail shall be cffrctive as delivery of a manually executed
counterpart of this Agreement.
          13.1 -1 Electronic Signatures. The pa11ies intend to conduct business contemplated by thi s Agreement by electron ic
means. Each document, which is the subject of this Agreement, that a party has affixed a typed or electronic signature or
other authentication and then transmitted electronically to the other shall be intended as and constin1te an origi nal and deemed
to contain a valid signature of the party fo r all purposes. In furtherance of the above, Seller hereby authorizes FSW to regard
the Seller's printed name or reasonable approximation thereof, electronic approva l or other confirmation process authorized
by FSW to be by or on behalf of Seller for any document, agreement, assignment schedule or invoice as the equi valent of a
manual signature by one of the Seller's authorized officers or agents. The parties agree that in any legal proceedings between
them respecting or in any way relating to this Agreement or any transactions hereunder, each waives the right to ra ise any
defense based on its execution hereof in counterparts or the delivery of executed counterparts by electronic signan,re and
delivery. The parties waive, to the fullest extent permitted by Law, any provisions of applicable Law to the contrary.
          13.15     Reponing_ Seller's failure to promptly deliver to FSW any schedule. report, statement or other information
required by this Agreement or any document related thereto shall not affect, diminish, modify or otherwise limit FSW's
security interests in the Collateral or rights and remedies under this Agreement. FSW may rely upon. and assume the
authentic ity of. any approval and material aµp licablc to that approva l as the duly confirmed. authorized and approved signature
of Seller by the person approving the same which constitute an Authenticated Record for all pt11v oses including under the
UCC and shall satisfy the requirements of any applicable statute of frauds.
         I 3.16 Credit Rcpo11s. Seller authori zes FSW to obtain credi t reports for Seller. any other Seller Party and all
guarantors at ally time. in Fsw·s sole dis<.:retion.
         I 3.17 Joint and Severa I Liabil itv. The liability of each Seller and any and each guarantor shall be joint and several
and the cc,mpromise of any claim with, or the release o t: any Seller shall not constitute a compromise with, or a release of.
any other Seller or guarantor.
           13.18     Governing Law. This Agreement shall be deemed to have been made, executed and is to be perfo1mcd in
the County of Maricopa, State of Arizona and all rights and obligations of the pa11ies shall be governed, construed and enforced
acco rd ing to the Laws of the State of Arizona.
         13.1 9 Jurisdiction. Seller does hereby agree to submit to the jurisdiction of the Bankrnptcy Cowtwith respect to any
actions or proceedings arising out of or related to the Bankruptcy Proceedi ng. Subject to the arbitration provisions set forth in
Section 13.21 hereof. all actions or proceedings relating di rectly or indirectly hereto to protect Fsw·s interest in the Collateral
or otherwise sha ll, at the option of FSW, be litigated in exclusively in any federal or state court in Maricopa County, State of
Arizona. Seller hereby consents to the exclusive jurisdiction and venue of the federa l and state courts located in Maricopa
Coun ty, Arizona and consen ts to service of process in any such action or proceeding by personal delivery or any other method
permitted by law; and waives any and all rights Seller may have to object to the jurisdiction of any such court, or to transfer or
change the venue of any such action or proceeding.
         13.20     Waiver of Jury T rial. Subject to th e arbitration provisions set forth in Section 13.21 in the event an
action or proceeding should take place in a federal or state court, in recogni tion of the highe r cost and delay which
may result from a jury trial, the parties hereto do he reby waive any right to a jury trial of any action arising hereunder,
or in any__Jl'._a I cunnecte.i:Lwith or in.ddent~l to---.t-he dea-lings of the pilrties. Any- party hereto-mayiile an original
counterpart or a copy of this section with any court as written evidence of the consent of the parties hereto to the waiver
of their right to a jury trial. The parties agree that service of process may be made upon a pa11y by United States Mail,
certified mail. return receipt requested, postage prepaid, sent to the party at its last known address ofrecord.
          13.21     Arbitration. Except for the Bankruptcy Proceeding, or as otherwise provided for in Section 13.19 herein,
the parties (a nd their respective employees, officers, directors, attorneys, and other agents) agree to submit to binding
arbitration all claims. disputes and controversies between or among them, whether in tort, contract or otherwise. arising out
of or relating to in any way this Agreement or any other agreemen t. instrument, certificate or document entered into between
the parties, or any dispute, claim or controversy between them related to any of the transactions contemplated by this
Agreement. Any arbitration proceeding \\·i ll (i) proceed in Maricopa, County, Arizona; (ii) be governed by the Federal


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Arbitration Act (Title 9 of the Uni ted States Code); and (iii) be conducted in accordance with the Commercial Arbi tration
ru les of the America Arbitration Assoc iation ("AAA"), as modified by these provisions.
         Notwithstanding the foregoing. however. the arbitration requi rement does not limit the right ofFSW to (i) foreclose
against any Collateral; (ii) exercise self-help remedies relating to Collateral or proceeds of Collateral permitted to FSW,
such as setoff or repossession; or (iii) obtain provisional ancillary remedies such as replcvin, injunctive relief, attachment or
the appointment of a receiver, before, during or after the pendency or any arbitration proceeding. This exclusion does not
constitute a waiver of the ri ght or obligation of either party to submit any dispute to arbitration, including those arising from
the exercise of the actions detailed in this paragraph.
            Any arbitration proceeding will be before a single arbi trator selected according lo the Commercial Arbitration
Rules of the AAA The arbitrator will be a neutral attorney who has practiced in the area of commercial law for a minimum
of ten ( I 0) years. The arbitrator wil l determine whether or not an issue is arbitrable and will giYe effect to the statutes of
limi tation in determining any c laim. Judgment upon the award rendered by the arbitrator may be entered in any court
having jurisdicti on.


          In any arbitration proceeding, the arbitrator wil l decide (by documents only or with a hearing at the arbitrator's
disc retion) any pre-hearing motions which arc similar to motions to dismiss for failure to state a claim or motions for
summary adjudication.
          In any arbitration proceeding discovery wil l be permitted at the arbitrator's discretion and will be governed by the
Arizona Rules of Civil Procedure unless otherwise ordered by the arbitrator. The arbitrator shall award costs and expenses
of the arbitration proceeding in accordance with the provisions of this Agreement.
        13.22 Seller, by executing this Agreement, warrants and represents that Seller has fully read this Agreement,
has had the opportunity to be represented by counsel and to ask and receive answers to any questions Seller may have
concerning this Agreement, and that Seller fully understands all of the terms and provisions hereof, and that said
Agreement, although drafted by FSW. shall not be interpreted or construed against FS\-V.




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     IN WITNESS WHEREOF, the Parties have executed this Agreement as ol' the day and year stated above .



                                       .....,


  Name: Yarron Bendor

  Title:   CEO


  STATE OF    AY1-unA...
  County of   f..:iart ttp,._, ) ss.
  On this, thel2.~            J
                     day of tl-M-t/lAc.4( . 20??. before me personally appea red ~~~~~~~'..Yll!d!:~~ - -
  [and._ _ _ _ _ __, each] known to me to be the person[s] whose name is [n es arc] subscribed to the within
  in~trument and acknowledged that the person[s] executed the same for the purposes therei n contained.


   N WITI\ESS WHEREOF, 1hereun to set my ha nd and official seal.

                                                           SHELLEY R BANKERT
                                                         No1ary Pu blic, S1a1e or Aflzona
  Notary Pu                                                    Maricopa Coun 1y
  lVly Commiss1011 Expires:                                 Comm1ss1on U 556 044
                                                            My Commission Expires
                                                                Augus119,20 22


  FSW:     FACTORS SOUTHWEST, L.L.C.

  By.
           Robyn Barrett
           Managing Member

  Date of Acccptancc:______(the "Effective Date")




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                                     ADDENDUM A TO FACTORING AND SECURITY AGREEi\lENT

            THIS ADDENDUM A to Factoring and Security Agreement ("Addendum A") shall constitute an addendum to
   the Factoring and Security Agreement entered into between Factors Southwest, L.L.C. and GPML Co. dated [DATE] (the
   "Agreement"). This Addendum A shall be effective as of [DATE] (the ''Addendum A Effective Date").

            The terms used in the Agreement, including any Addendums attached thereto, shall have the following meaning
   and all capitalized terms not herein defined shall ha ve the meaning set fort h in the Uniform Commercial Code in effect in
   Arizona (the ''UCC"):

            I.     "Accounts" shall have the meaning asc1ibcd to such te1m in the UCC, whether or not evidenced by an
   instrument or chattel paper, and all substin1tions, replacements and additions to the foregoing, all proceeds related to the
   foregoing.

              ')
                       "Account Debtor"' shall have the meaning ascribed to such term in the UCC.

           3.      "Additional Factoring Fee" shall mean the Net Face Amount of a Factored Account multiplied by the
   Additional Factoring Fee Percentage for each Additional Factoring Fee Period or portion thereof. that any portion thereof
   remains unpaid. computed from the date on which the Initial Factoring Fee Period expires to and including the date that the
   Account is paid or the Late Payment Date. whichever first occurs.

             4.        ''Additional Factoring Fee Percentage.. shall be 0.65%

              5.       '•Additional Factoring Fee Period" shall be fifteen ( 15) days

             6.        ..Advancc Percentage" shall mean an amount up to Eighty five Percent (85%).

            7.     "Agreement" shal? mean the Factoring and Security Agreement entered into between the parties, this
   Addendum A. the D.:btor in Possc:ssion Addendum B and any subsequent addendum or rider thereto, and all amendments
   or modification which may be .:xecutcd between the parties from time to time.

            8.      •·Basr. Rate" shall mean the highest prime rate publicly announced from time to time by The Wall Street
   Journal as the prime 1ate or base rate or equivalent rate, or if The Wall Street Journal ceases to publish the prime rate.
   another published prime rate as chosen by FSW, in its sole discretion.

           9.     "Business Day'' shall mean any day except a Saturday, a Sunday, or any other day on which U.S.
   national banks or banks in Phoenix, Arizona are required or authorized to close.

              I0.      "Coll::teral Management Fee" shall be waived

              11.     "Collate ral'' shall mean all assets of Seller now owned or hereafter created or acquired, including but not
    limited to Accounts. c0ntract rights. inventory (including raw materials. work in process and fi nished goods and all packing
    and shipping materials related thereto). instruments, documents. chattel paper. equipment, and general intangibles
    (includiug patents, copyrights, trademarks, trade names and trade secrets of Seller, tax refunds, deposits and credit balances
    held by FSW for the account of Seller). all proceeds thereof of each of the foregoing, including proceeds of insurance
    covering the foregoing and all of Seller's Books re lating to the foregciing,_ The inclusion of Accouuts_in_Lhe__fOJegoing
----adinifion sfialrnot be construed to detract from the nature of the sale of the Accounts by Seller as a true sale with recourse
    and not a financing transaction, but those accounts are included as a precautionary matter as noted in the Agreement.

              12.      Guaranty" shall mean the Validity Guaranty executed by Seller in favor of FSW conc urrently with the
   Agreement.
              13.      Guaranty Party" shall mean the party or parties executing the Guaranty.

              14.      '·Customer" shall mean Seller' s customer or the Account Debtor who is obligated on an Account.




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                          15.     "Customer Dispute·' shall mean an asserted c la im, defense, dispute or offset by the Customer of any ki nd
                whatsoever. either ari sing out of the Factored Account or against Seller, whether va lid or invalid. arising e ither before
                and/or after the Account has been purchased by FSW, o r any reason a Customer refuses payment.

                        16.     "Daily Balance" shall mean the outstanding bal ance o f all moni es rem itted, paid or otherwise advanced
                by FSW lo Seller in accordance with the Agreement (less all amounts credited to Seller), plus all factoring fees, charges.
                and expenses charged to Seller in accordance with the Agreement.

                             17.       ''Daily Balance Default Rate" shall mean the Base Ra te plus 30%.

                          18.     "Effective Date" shall mean the date FSW shall accept the Agreement, unless a different effec tive date
                is specified in writing by the pai1ies to that Agreement.

                            19.       "Event of Default" shal l have the meaning as set forth in Section I 0.1 of the Agreement.

                            20.       "Factored Accounts" shall mean Accounts purchased hereunder wh ich have not been repurchased.

                        21.     "Initial Factoring Fee" shall mean the Net Face Amount ofa Factored Account multiplied by the In itial
                Factoring fee Percentage at the time of purchase by FSW, for the Initial Factoring Fee P eriod or ponion thereof.

                            22.       "Initial Factoring Fee Percentage" shall be 0.65%

                            23.       "I nitial Factoring Fee Period" shal l be fifteen ( 15) days

                            24.       "Daily Balance Rate" shall be waived

                            25 .      "Daily Balance Fee·' shall be waived

                          26.     ·TSW's Costs" sha ll mean and include all applicab le bank charges, fi ling, recording, publication and
               search fees which are paid or incurred by FSW; all costs and expenses incurred by FSW in enforcing its rights and remedies
               under this Agreement or defending this Agreement or its interest in the Factored Accounts or its security interest in the
               Co llateml ; fees and costs of FSW' s attorneys incuned in connection w ith drafting and negotiation of this Agreement and
               in connectio n w ith Seller's bankruptcy proceedi ng; photocopying and long distance telephone charges, facsimile and
               delivery charges. expenses of fie ld examinations ofScller·s Books; costs and expe nses incurred in gaining possession of,
               maintaining, handling, preserving, storing, repairing, shipping, sell ing, preparing for sale and advertising to sell the
               Collateral whether or not a sale is consummated; expenses invol ved or incutTed in col lecting the Accounts ; all sums
               advanced by FSW to reasonably protect and preserve its interest in the Factored Accounts and the Collateral; and a ll
               attorneys · fees and expeuses of FSW incuned in connection with the forego ing; which sums so advanced s hall be come
               clue and payable from Seller to FSW on written de mand and shall bear interest at 24% per annum if not paid with in ten
               clays after demand.

                        27.     "Incipient Default" shall mean any event shall have occurred and be continuing, w hich would w ith the
               giving of notice o r passage of time, or both, constitute an E vent of Default.

                    28.      "late Pay ment Date'' sha ll mean the date which is the earlier of(a) ninety days from the invoice date of
           a Factored Account, (b) the C ustomer or Seller ceases to be doing business in the ordinary course, (c) the Cus tomer makes
           an assignment for the benefit of c reditors, becomes the Debtor in a bankruptcy filin g or otherwise is subject to an inso lvency
           proceeding, whether voluntary or invo luntary, or (cl) the Bankruptcy Proceed ing is converted to a Chapter 7 proceeding or
- - - - -~ ·ther4 iquidation.                                                                                                       --

                           29.       "Maximum Amount'' shal l mean the amount of Two Million Do llars ($2,000,000)

                           30.       "M inimum Base Rate" shall be waived

                         31.     '·Net Face Amount" shall mea n the gross a mount of an Account, less any ren1rns, allowance o r discount
               a llowed in the ordinary course of business.

                           32.       ''Obligations" shal l mean all present and future indebtedness, liabil ities and obligations owing by Seller


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to FSW, whether or not for the payment of money, whether or not evidenced by any note or other instrument, whether direct
or indi rect, absolute or contingent, due or to become due, joint or several, primary or secondary, liquidated or unliquidated.
secured or unsecured, original or renewed or extended, whether arising out of this Agreement or otherwise and whether
arising before, during or after the commencement of any bankruptcy proceedings commenced by or against Seller,
including but not limited to the Bankruptcy Proceeding, and all FSW's Costs which Seller is required to pay or reimb urse
FSW fo r, pursuant to this Agreement, or by law.

         .>.>.  "Online Reporting Service" shall mean the system set up on FSW's website where Seller provides FSW
with the pertinent data necessary for FSW to purchase Accounts under the Agreement and otherwise administer the
Agreement.

           3-1.     "Online Statement of Account" shall have the meaning as described in Section 11 .1 of the Agreement.

        35.     "Original Term" shall mean the term of the Agreement conm1encing on the Effective Date and
concluding on the Termination Date.

           36.      "Renewal Term" shall have the meaning as set forth in Section 12 of the Agreement.

        37.     '·Required Reserve Amount" shall mean an amount of up to Fifteen Percent ( 15%) multiplied by the
unpaid balance of Purchased Accounts, as may be modified from time to time.

          38.     "Reserve Account" shall mean a bookkeeping account on the books of the FSW representing the unpaid
portion of the purchase price of each Factored Account so purchased, which is maintained by FSW to ensure Seller's
performance and disbursed to Seller at the time said Factored Account is paid, in accordance with Section 2.2.3 of the
Agreement. The Reserve Account is a bookkeeping account only and FSW shall have no duty to segregate the amounts
related to Seller from those of FSW or its other cl ients, and Seller shall have no interest in the Reserve Account.

        39.   '·Reserve Shortfall" shall mean the amount by which the Reserve Account is less than the Required
Reserve Amount.

         ,IQ.    '·Seller's Books" shall mean and includes all of Seller's books and records including ledgers and records,
computer program~, computer disks or tape files, computer printouts, and other computer prepared informati on pertaining
to the Accounts, the Collateral or Seller's business.

           41 .     "State" shall mean th.: state of Arizona

           42.      "Termination Date" shall mean the later of the expiration of the Original Tem1 or any Renewal Term.

           43.      "Trade i.'iame" shall mean each of the fol lowing: _________

                                            [SIGNATURE PAGE TO FOLLOW]




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 IN WITNESS WHEREOF, the Parties have executed this Addendum A to Factoring and Security Agreeme nt as of the day
 and year stated above.

 SELLER: CPMI, Co.

 By:


 Name: Yarron Bender
 Title:            CEO

 FSW: FACTORS SOUTHWEST, L.L.C.

 By:


 Name:      Robvn Barreti


 Title:            Managing Member


 Date of Acceptance :. _ _ __ _ _ __ _ ("Effective Da te")




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                                     CLAIMS AGAfNST SELLER




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VIA FACSI.l11LE. E-MAIL & US 1\1/AIL

December 30, 2021



Re: Notice of Assign ment of Payments for GPMI, Co.

Ladies and Gentlemen:

We are happy to announce that due to rapid growth, GPMI, Co. has outsourced capital funding of all their invoices to FSW
Funding. In keeping with maximum efficiency, GPMI , Co. has ass igned all present and future invoices directly to FSW
Funding.

Under these atTangements, Arizona law requires that your payment be made directly to FSW Funding fo r the account of
GPMI, Co .. FSW Funding's security interest has been duly recorded under Article 9 of the Uni fo rm Commercial Code. This
letter may onl y be revoked in writing by one of FSW Funding's officers. Payments should be mailed to the following
address:

        FSW Funding for the account of                                   Or ACH/Wire Bankers Trust Company
        GPMI, Co.                                                            602-224-2021 (telephone)
        P. 0. Box 467                                                                ABA: 073000642
        Des Moines, IA 50302-0-t67                                                 Acct: 0000045837
                                                                          Acct Name: Factors Southwest, LLC




Payme111111ade direcll)" to GPMJ, Co. does 1101 discharge your obligation to par FSW F1111di11g.

No changes to the payment instructions above can be made unless preapproved by contacting FSW Funding at 602- 535-
5984. Ir you have any questi ons regarding this assignment, please contact FSW Funding.


FSW funding                                                   GPMI, Co.



Robyn BatTett                                                 Varron Benclor,
Managing Member                                               CEO




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                                                                  AUTHORITY OF INDIVIDUALS

   Date: Decembe r 30, 202 1



  T he followi ng individuals are autho rized by GPM I, Co. ofperfonn all of the transactions in furtherance of the Factorin g and Security Agreement,
  inc luding, but not limited ~o, submitting funding/ad vance requests, req uesting reserve releases, and receiving account information.

   PLEASE INDICATE "YES" OR "NO" FOR EACH AUT HORIZED REPRESENTATIVE


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                                                                                                                                           advice .
                                                                                                                            fo rms?

                                                                                            0            YES/&           @No            &/NO             @!No
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                       COMPLIANCE REPORTI~G REQUIREMENTS




  Date: December 30, 202 1

  Client: GPMI, Co.


                                                 Requi red Financial Reporti ng

                 Report                                Frequency                             Date Due
              Bank Statement                            Monthly                    Due by 15'" of the following
                                                                                               month
       Accounts Receivable Aging -                      Monthly                     Due by 5m of the following
         Detailed by Invoice Date                                                              month
        Accounts Payable Aging -                        Monthly                     Due by 5m of the following
         Detailed by Invoice Dale                                                               month
          940/941 Tax Deposits                          Quarterly                  Within 3 days of deposit being
                                                                                                made
  lii-:ome Statement (Pro fit & Loss                    Month ly                   Due by 15 111 of the following
              Statement)                                                                        month
            Balance Sheet                               Month ly                   Due by 15"' of the fo llowing
                                                                                                month
        Inventory Report/Valuation                      Month ly                  Due by the 15m of the fo llowing
                                                                                                month
     Liability lnsuranc-:: Rider naming                 Annuall y                 Due prior to the expiration of the
          FSW certificate holder                                                         c un-ent certificate

  Seller agrees lo provide to FSW the above listed reports and freque ncy per Section 8.2 of the Factoring and
  Security Agreement.
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  Agreed:             '/

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  y~Kitf/
  Company:




   Print Name and Title:          ~0 M ~    Cf       } ( { ( . )e,f11   ,·r
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                                                  FUNDING                 S   M   A   LL        BUSINESS




                       **Any 111.•,v banking i11for111atio11 will take one Business Day to become active;'*
              •   All information is required.
              •   You' ll need information from your bank to complete this fo rm.
              •   When req uesting the routing number. be sure to get the number yo ur bank uses for wire transactions
                  (NOT the routing number for electronic funds transfers, ifdifferent).
              •   Once established, wire instructions remain in place until you delete them.
              •   New insm1ctions will not replace existing ones unless yo u also tell us to delete the existingoncs.
              •   Print form and entl'r info rmation filled 0 111 by hand. Write clearzy in black ink.
              □
      1. Account
      !nc/1/de authori::ed indil·iduals. A T LEAST ONE OWNER ,'vIUST BE LISTED. For additional 011'/lers, use a cop,· ofthis
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                                                                                                                                 Person: (l'Jamc.p hone


     3. Special Instructions
     □   DELETE thefo//owing account.


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     4. Business/ En titv Accou nt Certification
     A ll businesses or enlities 1,111s1 complete this section. (/ !here is onlv one officer, that officer must sign.
     By signing below, you store you are authorized to enter into transactions on behalf of the organization.




         nn




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                                             VALIDITY GUARANTY

January 12, 2022

Factors Southwest, L.L.C. dba FSW Funding (" FSW")
4530 East Shea Blvd. , Suite 170
Phoenix, AZ 85028

        RE: GPMI, Co. ("Seller") and FSW as specified in the Factoring and Security Agreement dated January 12,
        2022

Ladies and Gentlemen:

The undersigned is the Chi ef Executive Officer of the Seller. In order to induce FSW to extend financial
accommodations to the Seller pursuant to the Factoring and Security Agreement the Loan and Security Agreement,
and other various financing agreements (the "Agreements") with the Seller, the undersigned hereby warrants and
represents to FSW as follows:

I.      All Seller's accounts which have been or will be repo11ed to FSW by or on behalf of the Seller and in wh ich
        FSW has or w ill purchase or hold a security interest ("Accounts"), whether such repm1s are in the form of
        agings, Schedule of Accounts, bmTowing base ce11ificates, collateral reports or financial statements, are
        genuine and in all material respects what they purport to be, represent bona fide obligations of Seller's
        customers arising out of the performance ofa service or the sale and completed de live1y of merchandise
        sold by the Seller (the "Sold Goods") in the ordinary course of its business in accordance with and in full
        and complete performance of customer's (each, a "Customer") order therefor.

2.      All original checks, drafts, notes, letters of credit, acceptances and other proceeds of the Accounts, received
        by the Seller, will be held in trust for FSW and will immediately be forwarded to FSW upon receipt, in
        ki nd, in accordance with the terms of the Agreements.

3.      None of the Accounts are or wi II be the subject of any offsets, defenses or counterclaims of any nature
        whatsoever, and Seller wi ll not in any way impede or interfere with the normal collection and payment of
        the Accounts.

4.      No Account is owing by an em ployee or officer of the Seller, or by a company related to the Seller as a
        parent, subsidiaiy or affiliate.

5.      INTENTIONALLY OMITTED.

6.      The Sold Goods are and will be up to the point of sales, the sole and absolute property of the Seller, and the
        Accounts and Sold Goods will be free and c lear of all liens and security interests, except FSW's security
        interest.

7.      The due dates of the Accounts wi ll be as reported to FSW by or on beha lf of the Seller.

8.      Seller w ill promptly repo11 to FSW al l disputes, rejections, returns and resales of Sold Goods and al l credits
        al lowed by the Seller upon a ll Accounts.

9.      All repo11s, which FSW receives from th e Seller, including but not limited to those concerning its Accounts
        and its inventory, will be true and accurate except for m inor inadvertent errors.

10.     Seller will not sell its inventory except in the ordinary course of business.




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 11.     Seller agrees to make timely payments or deposits of all taxes (including OASDI, Medicare Tax,
         withholding tax payments and other mandatory withholdings) prior to delinquency and furnish to FSW on
         demand evidence of that payment or deposit. This paragraph does not apply to any tax that is subject to a
         valid defe1111ent under applicable law.

The undersigned hereby indemnifies FSW and holds FSW harmless from any direct, indirect, or consequential
damage or loss which FSW may sustain as a result of the material breach of any representation or warranty
contained herein, (all of which are continuing and in-evocable for so long as the Seller is indebted to FSW), or of
FSW's reliance (whether such reliance was reasonable) upon any misstatement (whether or not intentional), fraud,
deceit or criminal act on the part of the undersigned and to the best of the undersigned's knowledge, on the part of
any officer, employee, or agent of the Seller, or any costs (including reasonable attorneys' fees and expenses)
incurred by FSW in the enforcement of any rights granted FSW hereunder. All such sums will be paid by the
undersigned to FSW on demand.

The undersigned waives al l rights and defenses arising out of an election ofremedies by FSW, even though that
election of remedies, such as a nonj udicial forec losure with respect to security for a guaranteed obligation, has
destroyed the undersigned's rights of subrogation and reimbursement against the principal by operation of
Section 580d of the Code of Civil Procedure or otherwise.

Nothing herein contained shall be in any way impaired or affected by any change in or amendment of any of the
Agreements. This agreement shall be bi nding upon the undersigned, and the undersigned's personal representative,
successors, and assigns.

                                                                          Very Truly Yours,




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